                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


LEAGUE OF WOMEN VOTERS,                    )
LEAGUE OF WOMEN VOTERS                     )
TENNESSEE EDUCATION FUND,                  )
AMERICAN MUSLIM ADVISORY                   )
COUNCIL, MID-SOUTH PEACE &                 )
JUSTICE CENTER, ROCK THE VOTE,             )
MEMPHIS CENTRAL LABOR                      )
COUNCIL, and HEADCOUNT,                    )
                                           )
Plaintiffs,                                )
                                           )
v.                                         )                  Case No. 3:19-cv-00385
                                           )                  Judge Aleta A. Trauger
TRE HARGETT, in his official capacity      )
as Secretary of State of Tennessee,        )
MARK GOINS, in his official capacity       )
as Coordinator of Elections for the State  )
of Tennessee, the STATE ELECTION           )
COMMISSION, and DONNA BARRETT, )
JUDY BLACKBURN, GREG DUCKETT, )
MIKE MCDONALD, JIMMY WALLACE, )
TOM WHEELER, and KENT YOUNCE,              )
in their official capacities as members of )
the State Election Commission,             )
                                           )
Defendants.                                )

                                       MEMORANDUM

       The defendants have filed a Motion to Dismiss (Docket No. 39), to which the plaintiffs

have filed a Response (Docket No. 44), and the defendants have filed a Reply (Docket No. 46).

For the reasons set out herein, that motion will be denied.




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                     I. BACKGROUND AND PROCEDURAL HISTORY1

A. Voting in Tennessee

        Tennessee relies on popular elections to select (or, in a few cases, decide whether or not

to retain) many of the state’s most important state, local, and federal officials. E.g., U.S. Const.

art. I, § 2, cl. 1 (U.S. Representatives); U.S. Const. amend. XVII (U.S. Senators); Tenn. Const.

art. II, § 7 (state legislators); Tenn. Const. art. III, § 2 (Governor); Tenn. Const. art. VI, § 3 (state

appellate judges); Tenn. Const. art. VI, § 4 (circuit and chancery court judges); Tenn. Code Ann.

§ 2-15-101 (presidential electors); Tenn. Code Ann. § 5-6-102 (county mayors); Tenn. Code

Ann. § 6-3-101(a) (aldermen); Tenn. Code Ann. § 6-20-201(a)(3) (city mayors); Tenn. Code

Ann. § 6-31-101(a) (city council members); Tenn. Code Ann. § 16-18-201 (city judges); Tenn.

Code Ann. § 49-2-201(a)(1) (local board of education members). Sometimes, Tennessee voters

directly change state or local laws via ballot measures. See, e.g., Tenn. Const. art. XI, § 3

(constitutional amendment); Tenn. Const. art. XI, § 9 (municipal home rule); Tenn. Code Ann. §

6-51-105(a) (municipal annexation); Tenn. Code Ann. § 6-51-201(a) (contraction of municipal

boundaries); Tenn. Code Ann. § 6-51-403(b) (merger of municipalities); Tenn. Code Ann. § 6-

52-202 (abolition of municipal charter); Tenn. Code Ann. § 7-2-106(a) (consolidation of

metropolitan government); Tenn. Code Ann. § 49-2-501(a)(2) (abolition of special school

district); Metro. Gov’t of Nashville & Davidson Cty, Tenn., Charter § 19.01 (charter

amendment). But, unfortunately, not all Tennesseans vote. Some do not vote because they

choose not to, or they forget, or they do not even think about it. Some Tennesseans do not vote

because they do not meet the state’s requirements for “qualified voters,” due to their age, their

citizenship status, or their “infamy” based on a past felony conviction from which they have not


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  Except where otherwise indicated, these facts are taken from the plaintiffs’ Amended Complaint
(Docket No. 37) and are taken as true for the purposes of Rule 12(b).

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had their voting rights restored. See Tenn. Code Ann. §§ 2-2-102, 40-20-112, 40-29-202(a). In

any given election, however, there are some Tennesseans who are qualified to vote and would

like to do so, but who cannot, because “[o]nly qualified voters who are registered . . . may vote

at elections in Tennessee.” Tenn. Code Ann. § 2-1-105 (emphasis added).

       The only way to be “registered under” the state’s voter registration system is if one

“applies to register” with the appropriate county election commission. Tenn. Code Ann. § 2-2-

104(1); see Tenn. Code Ann. §§ 2-2-101(2), 2-2-303. A person applying to register must

complete a form, on which she provides certain information that establishes her identity and

qualifications as a voter. The Tennessee General Assembly requires that the form contain the

person’s name, sex, address of legal residence, mailing address if different from residential

address, social security number, date and place of birth, citizenship status, prior place of voter

registration, history of felony convictions, and a declaration of permanent residency. Tenn. Code

Ann. § 2-2-116. The application can be completed in person at the office of the county election

commission or at a number of other state and local government offices that Tennessee or the

county has directed to accept applications and transmit them to the commission. Tenn. Code

Ann. §§ 2-2-108(a)(1), 2-2-111(a), 2-2-201, 2-2-202. In addition to in-person registration,

Tennessee has an online voter registration system, see Tenn. Code Ann. § 2-2-112, and allows

registration by mail, see Tenn. Code Ann. § 2-2-115(a). Unless a prospective voter applies to

register at least thirty days before an election day, the voter will not appear on the voter rolls for

that election. Tenn. Code Ann. § 2-2-109(a).

       A number of organizations and individuals, recognizing that a lack of registration is the

only legal obstacle preventing many Tennesseans from voting, engage in activities intended to

assist unregistered qualified voters in filing registration applications. Some of those efforts are



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small and informal, between friends, family, neighbors, and coworkers. Other efforts to assist in

voter registration are larger and directed at the broader public, such as the operation of voter

registration desks at schools, community centers, concerts, and other locations frequented by

unregistered prospective voters. These efforts historically have involved collecting paper

registration forms, although modern technology also allows organizations to assist voters in

registering electronically.

        Despite those formal and informal efforts to boost registration, the number of registered

voters in Tennessee still lags far behind the number of qualified voters. According to the U.S.

Census Bureau’s Current Population Survey, there were, as of November 2018, approximately

4,872,000 voting-aged citizens in Tennessee, but only about 3,183,000 registered voters. (Docket

No. 37 ¶ 100.) Data from the U.S. Election Assistance Commission ranked Tennessee 44th out

of all U.S. states and the District of Columbia in the percentage of its citizen population that was

registered to vote. (Id.)

        In the period leading up to the November 2018 general election, some organizations,

including the plaintiffs in this case, intensified their Tennessee voter registration efforts. Many of

their activities were specifically designed to gather voter registration applications from what the

plaintiffs describe as “communities of color and other underserved populations.” (Id. ¶ 109.) The

plaintiffs’ focus was consistent with broader trends involving which voters are most likely to

benefit from concerted voter registration activities. According to Current Population Survey data

surrounding the 2018 election cycle, 5.3% of African-American voters and 5.5% of Hispanic

voters in the U.S. reported registering through a voter registration drive, with only 3.1% of white

voters reporting the same. (Id. ¶ 101.)




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       After the November 2018 election, the Tennessee General Assembly considered

additions to Tennessee’s election laws that would more closely regulate nongovernmental voter

registration activities. Representative Tim Rudd told the Elections & Campaign Finance

Subcommittee of the Tennessee House of Representatives that new laws were necessary because,

in 2018, “we had a lot of outsiders, contractors and other people coming in and flooding the local

election commission and the state with [voter registration forms] right before the election.” (Id. ¶

112.) Legislators expressed concerns about incomplete or erroneous forms that threatened to

overwhelm local voter registration authorities and “put legitimate registrations at risk.” (Id.) The

Speaker of Tennessee’s House of Representatives posted a message on Twitter in support of new

laws, complaining that “outside groups” had attempted to “flood the ballot box with fraudulent

votes” in order to defeat a particular candidate for statewide national office, whom the Speaker

identified by name. (Id. ¶ 116.) The Tennessee Secretary of State voiced similar concerns in an

op-ed, writing that the changes were a necessary response to a 2018 “activist” group’s having

submitted a large number of registration applications. (Id. ¶ 113.)

       On April 29, 2019, the Tennessee General Assembly passed ELECTION OFFENSES,

2019 Tenn. Laws Pub. ch. 250 (H.B. 1079) (hereinafter, the “Act”). On May 2, 2019, Governor

Bill Lee signed the Act into law, and its provisions are slated to “take effect” on October 1, 2019.

2019 Tenn. Laws Pub. ch. 250, § 9.




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B. The Act2

       1. Scope

       The Act leaves in place the preexisting state and local government structures for voter

registration and does not purport to govern every situation in which one person helps another

register to vote. The first few of its requirements, which govern how voter registration drives can

be performed, mostly apply to private organizations or individuals that “attempt[] to collect voter

registration applications of one hundred (100) or more people.” Tenn. Code Ann. § 2-2-142(a).3

These requirements include an exception for “individuals who are not paid to collect voter

registration applications or . . . organizations that are not paid to collect voter registration

applications and that use only unpaid volunteers to collect voter registration applications.” Tenn.

Code Ann. § 2-2-142(g). An organization is also excepted if it is the “designee” of the county

election commission for the purposes of operating certain county-supervised voter registration

activities. Tenn. Code Ann. § 2-2-142(a). The Act then establishes a system of potential

monetary penalties for entities covered by the new requirements. Tenn. Code Ann. § 2-2-143.

The State Election Commission is empowered to engage in rulemaking in furtherance of the

penalty provisions, but rulemaking is permissive, rather than mandatory, and there is no language

delaying the Act’s requirements until rulemaking takes place. Tenn. Code Ann. § 2-2-143(f).




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  Several key provisions of the Act contain ambiguities that, the plaintiffs argue, pose significant
constitutional problems of their own. Those ambiguities are discussed later in this opinion. For ease of
discussion, the court’s summary of the Act’s provisions may ignore a few ambiguities for the sake of
providing a general picture of the structure of the Act.
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  For ease of reading, the court will cite the Act using the section designations that it will have when
included in the Tennessee Code Annotated.


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          The Act next sets forth several ethics and conflict-of-interest requirements related to

procurement of voting systems, see Tenn. Code Ann. § 2-9-118, none of which are at issue in

this case.

          Finally, the Act imposes a number of requirements on parties that communicate to the

public about voter registration, including, in particular, parties that operate websites that either

facilitate voter registration or allow voters to look up individual voter registration information.

These requirements, unlike some of the registration drive requirements, apply no matter how

many voters, if any, the party attempts to register. See Tenn. Code Ann. § 2-2-145. This portion

of the Act does not contain any express language empowering the State Election Commission or

any other administrative body to engage in rulemaking related to its operation.

          2. Provisions at Issue in this Case.

          a. Pre-Drive Reporting Requirements. The Act requires prior registration, with the

state’s Coordinator of Elections, by private organizations and individuals planning voter

registration drives intended to exceed the 100-applicant mark, if they do not qualify for one of

the exceptions discussed above. Tenn. Code Ann. § 2-2-142(a). Specifically, the organization or

individual must, “[p]rior to conducting”4 the registration drive,

          (A) Provide the coordinator of elections with the name, address, and contact
          phone number of the person conducting the voter registration drive or the names,
          addresses, and contact phone numbers of the officers of the organization
          conducting the voter registration drive;

          (B) Provide the names of the county or counties in which the voter registration
          drives will be held; . . . [and]

           (D) File a sworn statement stating that the person or organization shall obey all
          state laws and procedures regarding the registration of voters . . . .




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    The Act does not specify a particular amount of time prior to the drive by which a party must register.

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Tenn. Code Ann. § 2-2-142(a)(1). Violation of any of those requirements, if done “intentionally

or knowingly,” is a Class A misdemeanor, and “each violation constitutes a separate offense.”

Tenn. Code Ann. § 2-2-142(f).

          According to the plaintiffs, these prior reporting requirements will necessitate significant

changes from the ways that they and others currently conduct voter registration drives. Voter

registration efforts, even those involving small stipends or some paid staff, are often built around

volunteerism, which sometimes can arise spontaneously, with little time for pre-planning. The

need to register every drive ahead of time, obtain certifications from covered voter registration

workers, and then, when the day of the drive arrives, use only those covered workers who pre-

registered will, the plaintiffs argue, make it substantially more difficult to staff their drives. For

example, the illness of a single organizer could cause an entire drive to have to be scrapped, even

if a perfectly suitable replacement is available. Individuals who get involved in voter registration

because they want to participate in civic life would, moreover, be likely to gravitate toward

options involving less red tape and less potential legal exposure. (Docket No. 37 ¶ 180–82.) The

plaintiffs, in particular, fear that many covered voter registration workers will refuse to sign the

required sworn prior statement of compliance out of fear of legal consequences. (Id. ¶ 184.)

Indeed, the plaintiffs themselves are reluctant to file any such assurances, out of fear that they

cannot guarantee compliance with what they consider to be ambiguous provisions of the Act. (Id.

¶ 186.)

          b. Mandatory Government-Administered Training. Individuals and organizations

subject to the reporting requirement are also required to receive voter registration training from

the State of Tennessee. Before conducting the drive, the individual or organization must

          (C) Complete training, which is administered by the coordinator of elections, on
          the laws and procedures governing the voter registration process; . . . [and]

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        (E) Ensure that individuals, whether volunteer or paid, who conduct voter
        registration drives for an organization have completed the training administered
        by the coordinator of elections . . . .

Tenn. Code Ann. § 2-2-142(a)(1). The Coordinator of Elections is forbidden from charging a fee

for the training and required to “offer the training online.” Tenn. Code Ann. § 2-2-142(e). As

with the reporting requirements, violation of the training requirement, if done “intentionally or

knowingly,” is a Class A misdemeanor, and “each violation constitutes a separate offense.”

Tenn. Code Ann. § 2-2-142(f).

        This required training, the plaintiffs complain, will make it more difficult to recruit

qualified volunteers and operate their drives with the kind of logistical flexibility necessary. (Id.

¶ 172.) The ability to recruit volunteers, they argue, depends, at least in part, on making limited

demands on volunteers’ time and accepting as many competent volunteers as are available. The

plaintiffs argue that the training requirement will, for example, “make it impossible to continue

to accept walk-up volunteers for Tennessee events.” (Id. ¶ 191.) The training requirement would

also pose an obstacle to grassroots efforts in areas or facilities with limited internet access. (Id.)

        c. 10-day Mandatory Application Turn-In. The Act requires any person or

organization that performs a voter registration drive for which registration was required to

“deliver or mail completed voter registration forms within ten (10) days of the date of the voter

registration drive; provided[] that if the date of the voter registration drive is within ten (10) days

of the voter registration deadline, the completed forms must be delivered or mailed no later than

the voter registration deadline.” Tenn. Code Ann. § 2-2-142(a)(2). That requirement applies even

if the person or organization knows that the application is deficient because, for example, it is

missing some of the required information. The only exception is that “[a] person or organization

who collects an application that only contains a name or initial is not required to file the

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application with the election commission.” Tenn. Code Ann. § 2-2-143(b). A knowing or

intentional violation of this provision is a Class A misdemeanor, with “each violation

constitut[ing] a separate offense.” Tenn. Code Ann. § 2-2-142(f).

       The plaintiffs do not dispute that they should turn in any voter registration forms they

receive. To the contrary, they believe that it is already their duty to do so under Tenn. Code Ann.

§ 2-19-103, which makes it a crime to interfere in a person’s rights under the state’s election

laws. (Docket No. 37 ¶ 148.) They note, however, that there may be extenuating circumstances

that would justify taking more than ten days to do so. (Id. ¶ 174.)

       d. Monetary Penalties for Turning In Incomplete Registrations. Pursuant to Tenn.

Code Ann. § 2-2-143(a), “any person or organization” that “conducts voter registration drives

under” the registration scheme is subject to a civil penalty if the person or organization, “within a

calendar year, files one hundred (100) or more incomplete voter registration applications.” The

Act defines “incomplete voter registration application” as “any application that lacks the

applicant’s name, residential address, date of birth, declaration of eligibility, or signature.” Tenn.

Code Ann. § 2-2-143(b). This provision does not include a requirement that the violation be

knowing or intentional.

       County election commissions are required to “file notice with the state election

commission, along with a copy of each voter registration application deemed to be incomplete

and identifying information about the person or organization that filed the incomplete

applications.” Tenn. Code Ann. § 2-2-143(c)(2). The state election commission then “shall make

a finding on the number of incomplete forms filed” and “may impose civil penalties for Class 1

and Class 2 offenses.” Tenn. Code Ann. § 2-2-143(c)(3). “‘Class 1 offense’ means the filing of

one hundred (100) to five hundred (500) incomplete voter registration applications,” and such an



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offense is “punishable by a civil penalty of one hundred fifty dollars ($150), up to a maximum of

two thousand dollars ($2,000), in each county where the violation occurred.” Tenn. Code Ann. §

2-2-143(c)(4)(A). “‘Class 2 offense’ means the filing of more than five hundred (500)

incomplete voter registration applications,” and such an offense is “punishable by a civil penalty

of not more than ten thousand dollars ($10,000) in each county where the violation occurred.”

Tenn. Code Ann. § 2-2-143(c)(4)(B).

       The plaintiffs note that their experiences in operating voter registration drives have

shown that new citizens and individuals from low-income communities are especially likely to

leave portions of their application forms blank. (Id. ¶¶ 142, 144.) The plaintiffs contend,

moreover, that it is inevitable that a voter registration drive of any significant size, even one

executed by well-trained personnel consistently with best practices, is going to produce some

incomplete forms. (Id. ¶ 9.) That likelihood, they argue, is exacerbated by the 10-day turn-in

requirement, which limits the time available to review applications and follow up with any

individuals who provided incomplete information. The plaintiffs note, as well, that, depending on

how the Act is interpreted, it may sometimes be impossible to determine that a form is

incomplete. For example, a prospective voter could provide incomplete or inaccurate

information, and it would be impossible for the operator of the registration drive to know about

the error. (Id. ¶¶ 130–33.) In any event, the plaintiffs reiterate that they believe that it is their

legal responsibility to turn in all forms that they have received that represent a good-faith effort

to register to vote, meaning that it will sometimes be their legal duty to turn in incomplete forms.

See Tenn. Code Ann. § 2-19-103.

       The plaintiffs note that structures are already in place for dealing with incomplete forms,

once submitted, and that even an incomplete form can be a meaningful step on a qualified voter’s



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path to becoming registered. Tennessee’s Coordinator of Elections is tasked with ensuring that

local election authorities are taking steps to allow “voters with deficient registrations” to be

“given the opportunity to correct incorrect or omitted information.” Tenn. Code Ann. § 2-2-

120(c)(4). Also, federal law requires election officials to inform applicants of the disposition of

their applications, 52 U.S.C. § 20507(a)(2), meaning that an individual whose application was

rejected as incomplete will be informed of the fact and have another chance to register. (Docket

No. 37 ¶ 148.)

       e. Consent Requirement for Retention of Voter Information. The Act prohibits

anyone operating a voter registration drive from “copying, photographing, or in any way

retaining the voter information and data collected on the voter registration application, unless the

applicant consents.” Tenn. Code Ann. § 2-2-142(b). The Act does not specify whether the

consent must be in writing. A knowing or intentional violation is a Class A misdemeanor, with

“each violation constitut[ing] a separate offense.” Tenn. Code Ann. § 2-2-142(f). The plaintiffs

complain that it is unclear what form such consent is supposed to take. They note, moreover, that

anyone who has given them a voter registration form has already voluntarily given the

organization their identifying information. The plaintiffs explain that voter registration

organizations often retain information for the purposes of later get-out-the-vote activities but

would be prevented from doing so if forced to comply with a vague and difficult-to-document

consent requirement. (Docket No. 37 ¶ 102.)

       f. Mandatory Disclaimers for Communications. Pursuant to Tenn. Code Ann. § 2-2-

145(a)(1), any “public communication regarding voter registration status made by a political

committee or organization must display a disclaimer that such communication is not made in

conjunction with or authorized by the secretary of state.” Id. “The disclaimer must be clear and



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conspicuous and prominently placed. A disclaimer is not clear and conspicuous if it is difficult to

read or hear, or if its placement can be easily overlooked.” Tenn. Code Ann. § 2-2-145(d). If a

“person or organization . . . establishes a website for voter registration purposes,” it must display

such a disclaimer and, if the site “captures or collects the voter’s information or data,” it must

include an additional notice “disclos[ing] on the website the person’s or organization’s name and

the purpose for which the voter information is captured or collected.” Tenn. Code Ann. § 2-2-

145(b)(1)–(2). The same is true for a website created to allow users to look up registration

information. Tenn. Code Ann. § 2-2-145(c)(1)–(2). “Any person who intentionally and

knowingly violates” these provisions “commits a Class A misdemeanor and each violation

constitutes a separate offense.” Tenn. Code Ann. § 2-2-145(e).

       The plaintiffs maintain that there is no evidence that Tennessee citizens are confused

about whether private groups’ voter registration-related communications are made in affiliation

with the Secretary of State. They note that some of the media through which they communicate,

such as text messages, social media posts, and billboards, have inherent limitations with regard

to the amount of information that can be transmitted that would make including a disclaimer

impractical. The plaintiffs also state that they use many materials that have already been printed

and would need to be reprinted in order to comply with the Act. The plaintiffs further note that

the broad definition of “public communications” could reach even face-to-face interactions,

thereby requiring their volunteers and personnel to append spoken disclaimers to something as

simple as asking a person if he is registered to vote. (Docket No. 37 ¶¶ 156–59.)

C. The Plaintiffs

       The plaintiffs are all organizations involved in voter registration activities in Tennessee.

Although they employ different strategies and work with different populations, all have



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expressed fear that it will be difficult or even impossible to continue their activities while

complying with the Act. Accordingly, some of the plaintiffs are considering a moratorium on

voter registration activities in Tennessee after the Act goes into effect on October 1, 2019. (Id. ¶

192.) If individual plaintiffs do not impose a moratorium, they will, at the very least, be likely to

substantially scale back their activities. (Id. ¶ 193.)

        1. League of Women Voters of Tennessee

        The League of Women Voters of Tennessee5 and the League of Women Voters of

Tennessee Education Fund—collectively, “the League,” for short—are Tennessee-based

nonprofit organizations with 775 dues-paying members. (Id. ¶¶ 21–23.) The League’s annual

budget for the last fiscal year was approximately $36,000, and its budget in recent years has

never exceeded $50,000. The League oversees nine local chapters in, for example, Blount

County, Tennessee and Shelby County, Tennessee. The local League chapters have their own

budgets, the largest of which has been, on average, about $35,000 per year. (Id. ¶¶ 23–24.) In the

year preceding the filing of this lawsuit, the local League chapters conducted approximately 122

voter registration events, relying on 277 volunteers to do so. (Id. ¶ 25.) Most of those

applications were collected in counties with local League chapters, but the League does often

collect registration applications in other communities as well. (Id. ¶ 27.) Locations at which the

League has focused its efforts include public housing offices, local libraries, naturalization

ceremonies, the YMCA, and local utility offices. (Id. ¶ 25.) The League estimates that, in 2018,

it collected and submitted nearly 3,000 voter registration forms. (Id. ¶ 27.) The League states that



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  Nationally, the League of Women Voters was founded in 1920 and has, over the course of nearly a
century, established itself as a well-respected civic organization that encourages voter registration. It is
active in all 50 states and has local subchapters in over 700 communities. See League of Women Voters,
Membership & Local Leagues and History, at https://www.lwv.org/about-us/membership-local-leagues &
https://www.lwv.org/about-us/history.

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it has begun retaining information about the voters it registers, to use in support of its get-out-

the-vote activities. (Id. ¶ 32.)

        The League has no paid staff in Tennessee, other than two temporary consultants. (Id. ¶

22.) Nevertheless, its voter registration activities do involve basic expenses. In order to support

its activities, the League routinely applies for and receives grants. For example, its Chattanooga

chapter recently received a “Youth Voter Grant” to encourage registration and participation in

the electoral process by younger voters. That project resulted in the registration of 316

prospective voters. (Id ¶ 29.) Although the League has provided support for county election

commissions’ supplemental registration activities at high schools, it has never been granted any

formal status as a “designee” under the state’s registration statutes. (Id. ¶ 30.)

        The League also runs a website, VOTE411.org, which provides information about

registration and polling places, as well as a tool through which an applicant can register to vote

or, if that is not possible, at least begin a voter registration application. The League retains some

of the information that it receives through the site in order to contact users in the future to

encourage them to vote. (Id. ¶ 34.) The League has advertised VOTE411.org with paper

materials handed out at its registration drives. (Id.)

        According to the League, it plans to continue and, if possible, expand upon its voter

registration activities in the coming years. (Id. ¶ 32.) It also plans to begin a text message-based

campaign to communicate with individuals about voter registration. (Id. ¶ 33.) The League,

however, believes that that text message campaign would be costlier, and perhaps even

unfeasible, under the Act, due to the difficulty of including the required disclaimers. (Id.) The

League states that attempting to comply with the Act will require it to expend resources to




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develop new materials and internal processes, some of which steps must be taken prior to

October 1, 2019, when the Act goes into effect. (Id. ¶ 35.)



       2. Memphis Central Labor Council

       The Memphis Central Labor Council (“MCLC”) is a Memphis-based labor council of the

American Federation of Labor and Congress of Industrial Organizations, commonly referred to

as the “AFL-CIO.” It acts as the umbrella organization for 41 west Tennessee-based affiliate

unions, including the local affiliate of the International Brotherhood of Electrical Workers and

the local affiliate of the American Federation of State, County and Municipal Employees. All in

all, MCLC and its affiliated unions have about 16,000 union members. (Id. ¶ 51.) MCLC

engages in extensive canvassing, voter turnout, and voter registration activities, targeted, in

particular, at union members and their families, including members of MCLC’s unions and west

Tennessee members of other AFL-CIO-affiliated unions. According to MCLC, there are

approximately 41,000 union members or union household members in west Tennessee who are

not registered to vote. MCLC hopes to set a target of registering more than 1,000 of those

unregistered prospective voters in each of the next several election cycles. (Id. ¶ 52.)

       MCLC’s overall annual budget is about $200,000, and its budget for political activities is

about $40,000. (Id. ¶ 58.) In the 2018 election cycle, MCLC hired approximately 15 paid field

organizers to perform canvassing, which consisted primarily of making door-to-door visits to

households identified through union membership lists. (Id. ¶ 52–54.) MCLC also uses “released

staff” from affiliate unions in support of its canvassing work. These staff members are paid by

their individual unions but detailed to MCLC’s canvassing efforts. (Id. ¶ 55.) As part of their

canvassing visits, MCLC’s organizers identify which candidates MCLC has endorsed. (Id. ¶ 53.)



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MCLC also sometimes learns, in its canvassing visits, that the union membership information it

has been using is out of date. MCLC has begun retaining information learned while canvassing

to update its membership lists. (Id. ¶ 57.)

        MCLC anticipates hiring about the same number of field organizers as it hired in 2018 to

perform canvassing related to the 2020 election cycle. MCLC believes that it will be more

difficult for it to hire field organizers if the field organizers fear civil or criminal penalties arising

out of their work. (Id. ¶ 54.) MCLC contends that even a small fine would impose severe

hardship on its ability to operate its political program. (Id. ¶ 58.) MCLC states that attempting to

comply with the Act will require it to expend resources to develop new materials and internal

processes, some of which steps must be taken prior to October 1, 2019, when the Act is

scheduled to go into effect. (Id. ¶ 59.)

        3. Rock the Vote

        Rock the Vote is a Washington, D.C.-based 501(c)(3) organization that is “dedicated to

building long-term youth political power” through voter registration and engagement. (Id. ¶¶ 60–

61.) Rock the Vote is active nationwide and maintains an online voter registration platform that

partner organizations may use for free. The tool is designed to assist a user in determining

whether he is eligible to vote; if he is, the tool directs him to the appropriate state voter

registration website or assists him in completing a mail-in form. Rock the Vote also offers a

voter lookup tool that allows users to check their voter registrations. (Id. ¶ 61.) Tennessee

citizens who use Rock the Vote’s online registration tool are directed to the state’s online

registration system if they have the photo identification necessary to register using that system. If

the user lacks the requisite identification, Rock the Vote’s tool assists him in completing a mail-

in form. (Id. ¶ 62.) The registration tool allows users to opt into receiving election reminders,



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which, by necessity, requires Rock the Vote to retain some user information. (Id. ¶ 65.) Since

1990, Rock the Vote and its partners have assisted in the registration of nearly 8 million new

voters. In 2018 alone, about 830,000 people registered to vote using the Rock the Vote online

platform, including over 11,000 in Tennessee. In 2016, about 1.7 million people registered using

the platform, including over 31,000 in Tennessee. (Id. ¶ 63.)

       Rock the Vote has five full-time employees and one part-time paid intern. (Id. ¶ 64.) It

relies on various methods of electronic communication in furtherance of its efforts, including

social media, email, and texting. (Id. ¶ 65.) Rock the Vote asserts that the Act’s disclaimer

requirements will impose a substantial burden on its ability to use its online tool to assist in voter

registration applications. Specifically, it will need to translate its disclaimers into all 13

languages supported by the tool, redesign the user-flow and interface to ensure that the

disclaimer is integrated into the user experience, update its tool for both desktop and mobile

interfaces, and engage in thorough testing to confirm that the updated tool works properly. (Id. ¶

66.) Rock the Vote stresses that it will need to make these expenditures prior to October 1, 2019,

in order to be in compliance with the Act when its provisions take effect. (Id. ¶ 67.)

       4. American Muslim Advisory Council

       The American Muslim Advisory Council (“AMAC”) is a Nashville-based 501(c)(3)

organization that “seeks to empower Muslims across Tennessee through civic engagement and

community building in order to protect all Tennesseans from prejudice and targeted violence.”

(Id. ¶ 36.) Its efforts include voter registration drives, get-out-the-vote events, candidate forums,

outreach through calls and texts, and providing rides to the polls. As part of its outreach, AMAC

communicates to the public about issues including voter registration. (Id. ¶ 37.) In 2018, AMAC

registered a “significant number” of voters at mosques in Nashville, Antioch, Murfreesboro,



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Memphis, and Knoxville and at events that it co-hosted with groups like the Vanderbilt Muslim

Student Association. (Id. ¶ 39.)

       AMAC has one full-time and one part-time staff member. Its total budget for 2018 was

about $120,000, with about $1,000 allocated to voter registration activities. It pays student

interns by the hour for assisting in its voter registration activities. (Id. ¶¶ 39, 41.) AMAC has

continued to engage in voter registration activities and intends to expand on those activities in

2020. (Id. ¶¶ 38, 41.) AMAC states that, because it is a small organization with a limited budget,

even relatively minor financial penalties would result in a significant hardship to it. (Id. ¶ 41.)

AMAC states that attempting to comply with the Act will require it to expend resources to

develop new materials and internal processes, some of which steps must be taken prior to

October 1, 2019, when the Act goes into effect. (Id. ¶ 42.)

       5. Mid-South Peace & Justice Center

       The Mid-South Peace and Justice Center (“MSPJC”) is a “multi-issue, multi-race”

501(c)(3) organization “whose mission is to engage, organize, and mobilize communities to

realize social justice through nonviolent action.” (Id. ¶ 43.) It has about 90 monthly dues-paying

members but works with additional volunteers and student interns in its activities, which include

advocacy, community outreach, and voter registration activities. In the past, it has received

grants to conduct voter registration drives, and it anticipates that it will continue seeking and

receiving such grants. It relies on both volunteers and its paid staff members to conduct its voter

registration activities. MSPJC routinely retains information that it receives from its voter

registration activities in order to make follow-up communications with the applicants. (Id. ¶¶ 43–

47.) Through its registration drives and otherwise, MSPJC communicates with members of the

public on civic matters, including voter registration. (Id. ¶ 48.)



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       MSPJC has three full-time and three part-time staff members. It has an annual budget of

approximately $235,000, much of which goes to salaries. MSPJC projects that, due to its

budgetary constraints, even a small fine would likely lead it to suspend all voter registration

activities, at least temporarily. (Id. ¶ 49.) MSPJC states that attempting to comply with the Act

will require it to expend resources to develop new materials and internal processes, some of

which steps must be taken prior to October 1, 2019, when the Act goes into effect. (Id. ¶ 50.)

       6. HeadCount

       HeadCount is a New York City-based 501(c)(3) organization that works with musicians

and other media figures to promote participation in democracy. As part of its efforts, HeadCount

operates voter registration drives at concerts and music festivals nationwide. (Id. ¶ 68.) Since

2004, HeadCount has assisted in the submission of about 500,000 voter registration applications

through more than 6,000 in-person field events. In order to execute these large-scale efforts,

HeadCount has cultivated a network of about 20,000 volunteers, some of whom have risen to

leadership positions within the organization. (Id. ¶¶ 69, 72.) It receives grant money, direct

donations, and sponsorships to fund its voter registration activities, including in Tennessee. (Id. ¶

71.)

       HeadCount has no full-time paid staff in Tennessee, but it will occasionally hire a

Tennessee-based independent contractor for events. It mostly relies on volunteer team leaders to

run its registration drives in the field. (Id. ¶¶ 72–73.) HeadCount requires each event to be staffed

with at least one team leader, in order to maintain the security of the voter registration

applications and ensure that they are properly collected and delivered. HeadCount currently has

four team leaders in Tennessee, for 2,000 field volunteers. (Id. ¶¶ 73–74.) It is seeking additional

Tennessee team leaders but will not approve team leaders until after they complete HeadCount



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training and review. Although team leaders do not receive a wage or salary, HeadCount has, in

the past, paid Tennessee team leaders a stipend, and it plans to do so in the future. (Id. ¶¶ 73–76.)

HeadCount’s other volunteers are not paid monetarily, but they do receive free access to the

concerts and festivals where they volunteer. (Id. ¶ 77.)

        HeadCount requires all of its volunteers to undergo a one-hour training before the event

at which they volunteer, with occasional exceptions for volunteers who have undergone the

training before. Many of HeadCount’s volunteers are volunteering for the first time and,

therefore, do not receive any training until the day on which they volunteer. (Id. ¶ 78.)

HeadCount alleges that it “cannot continue to help Tennessee voters register in the field by

collecting their forms and submitting them if HeadCount will be subject to financial penalties.”

(Id. ¶ 145.)

        HeadCount’s planning for registration activities leading up to the 2020 election is already

underway. The organization produces a festival kit to be used at events as well as signage that is

reused from event to event, and some expenditures have already been made on those materials.

HeadCount contends that redesigning and reprinting materials to comply with the Act’s

disclaimer requirement would be costly. (Id. ¶ 79.) The disclaimer requirement and information

retention requirements would also affect HeadCount’s digital tools and social media efforts,

which account for over 50% of its national voter registration activity. In addition to its in-person

and online activities, HeadCount engages in text message-based efforts to alert individuals to

voter registration opportunities, which could raise difficulties with regard to including adequate

disclaimers. (Id. ¶¶ 80, 85, 93.)

        HeadCount’s concerns about the disclaimers are not limited to the expenses and technical

challenges. HeadCount has expressed concern that disclaimers will lessen the effectiveness of its



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efforts because the disclaimers will give the impression that a given voter registration drive is not

“official,” despite the fact that it is soliciting real, official voter registration applications and

submitting them to the correct authorities in order for real voters to be registered. (Id. ¶ 90.)

       HeadCount retains photocopies of the registration applications it collects, which it uses to

later verify that the forms were accepted and that the voters were added to state voter rolls. This

allows HeadCount to ensure that its registration efforts have been effective, and HeadCount uses

that information both in direct furtherance of its mission and to demonstrate to potential donors

that it is securing actual voter registrations, not merely collecting forms. (Id. ¶ 82.)

D. This Litigation

       1. The Plaintiffs’ Claims

       On May 9, 2019, most of the current plaintiffs—along with one organization that is no

longer associated with the case—filed their Complaint in this court. (Docket No. 1.) On June 21,

2019, the plaintiffs filed an Amended Complaint that expanded on the plaintiffs’ allegations and

included all of the parties currently in the case. (Docket No. 37.) The plaintiffs have pleaded five

claims under 42 U.S.C. § 1983. Claim I alleges that the provisions of the Act discussed above,

both individually and cumulatively, unconstitutionally burden the plaintiffs’6 rights to freedom of

speech and association under the First Amendment of the U.S. Constitution, as incorporated via

the Fourteenth Amendment. (Id. ¶¶ 199–218.) Claim II alleges that the disclaimer requirements

of Tenn. Code Ann. § 2-2-145 amount to government-compelled speech that serves no legitimate

governmental function, in violation of the First Amendment. (Id. ¶¶ 219–28.) Claim III alleges

that, insofar as the Constitution permits some legislation akin to the Act, the Act itself is

unconstitutionally overbroad in violation of the First Amendment. (Id. ¶¶ 229–35.) Claim IV

6
  Unlike the other plaintiffs, Rock the Vote challenges only the Act’s disclaimer requirements, not its
other provisions. (Docket No. 37 at 3 n.1.) For ease of reading, the court will speak generally of “the
plaintiffs,” even when discussing arguments in which Rock the Vote has not joined.

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alleges that the Act’s requirements are unconstitutionally vague in violation of the plaintiffs’

rights to due process under the Fourteenth Amendment. (Id. ¶¶ 236–57.) Claim V alleges that the

Act unconstitutionally burdens the fundamental right to vote and to engage in speech and

association related to the right to vote. (Id. ¶¶ 258–66.)

        2. The Defendants

        The plaintiffs have named as defendants various Tennessee officials who will play roles

in administering the Act, each of whom is sued in his or her official capacity only. Tre Hargett is

the Tennessee Secretary of State. (Id. ¶ 95.) Under the Tennessee Constitution, the Secretary of

State is appointed by a joint vote of the General Assembly, whose members are elected. Tenn.

Const. art. III, § 17. The Secretary of State, in turn, appoints the state’s Coordinator of Elections,

who serves at the pleasure of the Secretary. Tenn. Code Ann. § 2-11-201(a). Defendant Mark

Goins is the Coordinator of Elections. (Docket No. 37 ¶ 96.) The Coordinator “is the chief

administrative election officer of the state” and is charged with “obtain[ing] and maintain[ing]

uniformity in the application, operation and interpretation of the election code.” Tenn. Code

Ann. § 2-11-201(b). Among the Coordinator’s responsibilities under the Act is that he is the

official who “administer[s]” the mandatory government training, without which individuals

cannot participate in a covered voter registration drive, and he is the official with whom

individuals and organizations must register. Tenn. Code Ann. § 2-2-142(a)(1).

        Herbert H. Slatery III is the Attorney General and Reporter (hereinafter, “Attorney

General”) of Tennessee. Tennessee’s Attorney General is appointed by the judges7 of its

Supreme Court, who are, under current law, appointed by the Governor and confirmed by the

7
 The Tennessee Constitution refers to the members of the judiciary who sit on the Tennessee Supreme
Court, other than the Chief Justice, as “judges,” although the court takes judicial notice that they are all
commonly referred to as “justices.” The court has used the term “judge” merely to reflect the
constitutional text.


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General Assembly, after which the judges are subject to retention elections. Tenn. Const. art. VI,

§§ 3, 5. The plaintiffs maintain that the Attorney General “is authorized to investigate or

prosecute violations of the election code and to request that the Coordinator conduct

investigations,” although the statutory subsections that the plaintiffs cite do not appear to support

the entirety of that claim. (Docket No. 37 ¶ 97 (citing Tenn. Code Ann. § 2-11-202(a)(5)(A)–

(C)).) In any event, the Attorney General is indeed empowered to request that the Coordinator

conduct investigations. Tenn. Code Ann. § 2-11-202(a)(5)(C). The election code, however,

contemplates that prosecutions will be performed by a “district attorney general,” Tenn. Code

Ann. § 2-11-202(a)(5)(A)—in other words, a local prosecutor, see Tenn. Code Ann. § 8-7-

103(1).8

        Donna Barrett, Judy Blackburn, Greg Duckett, Mike McDonald, Jimmy Wallace, Tom

Wheeler, and Kent Younce are the members of the State Election Commission. (Docket No. 37 ¶

99.) Members of the Commission are elected by a joint resolution of both houses of the General

Assembly. Tenn. Code Ann. § 2-11-104(b). The Act adds a provision allowing the General

Assembly to remove a member for cause or if he or she becomes unqualified. 2019 Tenn. Laws

Pub. ch. 250, § 8. Under the Act, the Commission is the body to which incomplete registrations

are reported and the body that “may” impose fines based on the incomplete forms. Tenn. Code

Ann. § 2-2-143(c).

        3. The Defendants’ Motion




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  The Attorney General does have some very limited general authority to initiate criminal prosecutions of
his own accord, as well as power to assist in local prosecutions, with the consent of local authorities. See
Tenn. Code Ann. § 8-6-112(a) (allowing Attorney General to initiate prosecutions of certain officials
where the district attorney general would have a conflict); Tenn. Code Ann. § 8-7-106(b)(4) (allowing a
district attorney general to cross-designate the Attorney General for purposes of specific prosecutions and
investigations).

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        On July 5, 2019, the defendants filed a Motion, under Rule 12(b)(1) and Rule 12(b)(6) of

the Federal Rules of Civil Procedure, to dismiss the plaintiffs’ claims. (Docket No. 39.)

Specifically, the defendants argue that the court lacks jurisdiction, either because the plaintiffs

lack standing to bring their challenges or because their claims are not ripe. The defendants also

argue that, if the court finds that it has jurisdiction, the court should dismiss all of the plaintiffs’

claims because the plaintiffs have failed to plead plausible challenges to the constitutionality of

the Act.

                                     II. LEGAL STANDARD

A. Rule 12(b)(1)

        “Rule 12(b)(1) motions to dismiss . . . generally come in two varieties: a facial attack or a

factual attack.” Gentek Bldg. Prods., Inc. v. Sherwin-Williams Co., 491 F.3d 320, 330 (6th Cir.

2007) (citing Ohio Nat’l Life Ins. Co. v. United States, 922 F.2d 320, 325 (6th Cir. 1990)). When

a Rule 12(b)(1) motion contests subject matter jurisdiction factually, the court must weigh the

evidence in order to determine whether it has the power to hear the case, without presuming the

challenged allegations in the complaint to be true. Id.; DLX, Inc. v. Kentucky, 381 F.3d 511, 516

(6th Cir. 2004). When the facts are disputed in this way, “[t]he district court has broad discretion

to consider affidavits, documents outside the complaint, and to even conduct a limited

evidentiary hearing if necessary,” without converting the motion into one for summary judgment.

Cooley v. United States, 791 F. Supp. 1294, 1298 (E.D. Tenn. 1992), aff’d sub nom. Myers v.

United States, 17 F.3d 890 (6th Cir. 1994); see also Gentek, 491 F.3d at 330. It is then the

plaintiff’s burden to show that jurisdiction is appropriate. DLX, 381 F.3d at 516. If a Rule

12(b)(1) motion challenges subject matter jurisdiction based on the face of the complaint, to the

contrary, the plaintiff’s burden is “not onerous.” Musson Theatrical Inc. v. Fed. Express Corp.,



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89 F.3d 1244, 1248 (6th Cir. 1996). A court evaluating this sort of facial attack to the assertion of

subject matter jurisdiction must consider the allegations of fact in the complaint to be true.

Gentek, 491 F.3d at 330.

B. Rule 12(b)(6)

       In deciding a motion to dismiss for failure to state a claim under Rule 12(b)(6), the court

will “construe the complaint in the light most favorable to the plaintiff, accept its allegations as

true, and draw all reasonable inferences in favor of the plaintiff.” Directv, Inc. v. Treesh, 487

F.3d 471, 476 (6th Cir. 2007); Inge v. Rock Fin. Corp., 281 F.3d 613, 619 (6th Cir. 2002). The

Federal Rules of Civil Procedure require only that a plaintiff provide “a short and plain statement

of the claim that will give the defendant fair notice of what the plaintiff’s claim is and the

grounds upon which it rests.” Conley v. Gibson, 355 U.S. 41, 47 (1957). The court must

determine only whether “the claimant is entitled to offer evidence to support the claims,” not

whether the plaintiff can ultimately prove the facts alleged. Swierkiewicz v. Sorema N.A., 534

U.S. 506, 511 (2002) (quoting Scheuer v. Rhodes, 416 U.S. 232, 236 (1974)).

       The complaint’s allegations, however, “must be enough to raise a right to relief above the

speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). To establish the “facial

plausibility” required to “unlock the doors of discovery,” the plaintiff cannot rely on “legal

conclusions” or “[t]hreadbare recitals of the elements of a cause of action,” but, instead, the

plaintiff must plead “factual content that allows the court to draw the reasonable inference that

the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678–79

(2009). “[O]nly a complaint that states a plausible claim for relief survives a motion to dismiss.”

Id. at 679; Twombly, 550 U.S. at 556.




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                                       III. JURISDICTION

A. Injury-in-Fact

       The defendants argue that the plaintiffs lack standing to challenge the Act because it has

not yet gone into effect and the plaintiffs, therefore, do not yet know how the State Election

Commission, Coordinator of Elections, and local district attorneys general will use their

discretion under the Act. The plaintiffs respond that the Act has been duly enacted and will, by

operation of law, impose obligations in what was, when they filed their Complaint, a few short

months and is now about a month. They note, moreover, that it will be impossible to comply

with the Act’s requirements without taking preparatory steps, including ones that they are

already taking at their own expense.

       Article III of the Constitution gives the federal courts jurisdiction only over “cases and

controversies,” of which the component of standing is an “essential and unchanging part.” Lujan

v. Defenders of Wildlife, 504 U.S. 555, 560 (1992); see also Warth v. Seldin, 422 U.S. 490, 498

(1975). A party seeking to invoke the court’s jurisdiction must establish the necessary standing

to sue before the court may consider the merits of that party’s cause of action. Whitmore v.

Arkansas, 495 U.S. 149, 154 (1990). A plaintiff is required to show standing to sue at each stage

in the litigation. Lujan, 504 U.S. at 561–62. To establish standing under the Constitution, a

plaintiff must show that: (1) he has suffered an “injury in fact” that is (a) concrete and

particularized; and (b) actual or imminent, not conjectural or hypothetical; (2) the injury is fairly

traceable to the challenged action of the defendant; and (3) it is likely, as opposed to merely

speculative, that the injury will be redressed by the relief requested. Gaylor v. Hamilton Crossing

CMBS, 582 F. App’x 576, 579–80 (6th Cir. 2014) (citing Lujan, 504 U.S. at 560–61); see also



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Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 180–81 (2000).

These mandatory minimum constitutional requirements—commonly known as (1) injury-in-fact,

(2) causation, and (3) redressability—apply in every case. The defendants’ argument that the

plaintiffs lack standing because the Act has not yet gone into effect or been wielded against them

is a challenge to the plaintiffs’ ability to meet the first requirement, an injury-in-fact that is

imminent, not merely conjectural or hypothetical.

       “[A]n actual arrest, prosecution, or other enforcement action is not a prerequisite to

challenging” the constitutionality of a law regulating an organization’s ongoing and expected

future behavior. Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014) (citing

MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 128–29 (2007); Steffel v. Thompson, 415

U.S. 452, 459 (1974)). Nor is a plaintiff required to “expose himself to liability before bringing

suit.” MedImmune, 549 U.S. at 129. A plaintiff may, for example, establish an injury-in-fact

based on its “intention to engage in a course of conduct arguably affected with a constitutional

interest, but proscribed by a statute.” Babbitt v. United Farm Workers Nat. Union, 442 U.S. 289,

298 (1979). The defendants take that principle to suggest that, unless a plaintiff plans on

violating a law, he does not have standing to challenge it.

       This case presents a slightly different situation, because it is clear, from the plaintiffs’

allegations, that they intend to try to comply with the Act if and when it goes into effect, even if

complying means ceasing voter registration activities altogether. They therefore cannot rely on

their stated intention to violate the Act in order to establish standing. Nevertheless, the plaintiffs

have alleged that their intention—but for the Act—would be to behave in ways that the Act

proscribes, and that intention may, in an appropriate case, itself be sufficient to confer standing.

See Clements v. Fashing, 457 U.S. 957, 962 (1982) (finding standing where plaintiffs alleged



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that, “but for the . . . provision they seek to challenge, they would engage in the very acts that

would trigger the enforcement of the provision”). None of the plaintiff organizations has

indicated that it would require every one of its volunteers to receive training from Tennessee’s

Coordinator of Elections unless forced to do so. Similarly, none of the organizations would

choose to adopt the Act’s disclaimers, on as wide a range of materials as the Act demands, unless

required to. And, while none of the organizations has expressed a desire to violate the 10-day

form turn-in requirement in any systematic way, the plaintiffs have alleged that they would, but

for the Act, hold a form for longer than ten days in some situations. Moreover, the plaintiffs

would, but for the Act, pursue their voter registration aggressively, despite their knowledge that

those efforts will unavoidably lead to the submission of some incomplete applications. Under the

Act, they cannot do so without risking fines.

       The defendants’ position would limit the right to challenge the Act to, at most, people or

organizations who plan to defy its requirements or who, after October 1, have actually done so

and have been fined or prosecuted. Article III, however, does not require a plaintiff to engage in

“costly futile gestures simply to establish standing, particularly when the First Amendment is

implicated.” Lac Vieux Desert Band of Lake Superior Chippewa Indians v. Mich. Gaming

Control Bd., 172 F.3d 397, 406 (6th Cir. 1999) (citing Virginia v. Am. Booksellers Ass’n, Inc.,

484 U.S. 383, 392–93 (1988); Clements, 457 U.S. at 962). The defendants’ assumption that

standing should be limited to lawbreakers and aspiring lawbreakers is based on the faulty

assumption that a law can only injure the people who disobey it. Following a law, however, can

sometimes harm a person just as much as breaking it. That is why the caselaw recognizes that an

injury-in-fact can arise not only out of expected enforcement but also “costly, self-executing

compliance burdens.” Nat’l Rifle Ass’n of Am. v. Magaw, 132 F.3d 272, 279 (6th Cir. 1997)



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(citation omitted); accord Hyman v. City of Louisville, 53 F. App’x 740, 743 (6th Cir. 2002); see

also Am. Booksellers, 484 U.S. at 392 (finding standing because “plaintiffs . . . , if their

interpretation of the statute is correct, will have to take significant and costly compliance

measures or risk criminal prosecution”) (citing Craig v. Boren, 429 U.S. 190, 194 (1976); Doe v.

Bolton, 410 U.S. 179, 188 (1973)); Ohio Coal Ass’n v. Perez, 192 F. Supp. 3d 882, 902 (S.D.

Ohio 2016) (“[A]dditional compliance burdens may serve as an injury in fact.”) (citing All. for

Natural Health U.S. v. Sebelius, 775 F. Supp. 2d 114, 120–21 (D.D.C. 2011)). A plaintiff can

establish standing to challenge a law by showing that the law “is directed at [the plaintiff] in

particular[,]   .   .   .   requires   [the   plaintiff]   to   make   significant   changes   in   [its]

everyday . . . practices[, and] . . . expose[s the plaintiff] to the imposition of strong sanctions” for

noncompliance. Abbott Labs. v. Gardner, 387 U.S. 136, 154 (1967), abrogated on other

grounds, Califano v. Sanders, 430 U.S. 99 (1977). That is the case here.

        The compliance costs that the plaintiffs have alleged are no less real simply because the

Act is allowing a grace period to elapse before its requirements take effect. See Nat’l Fed’n of

Indep. Bus. v. Sebelius, 567 U.S. 519, 539 (2012) (permitting a challenge filed three years before

a provision’s effective date); New York v. United States, 505 U.S. 144, 175 (1992) (permitting

challenge filed six years before statute’s effective date). The Act is not just a speculative

possibility; it is the law. It “bec[a]me law,” under Article II, § 18 of the Tennessee Constitution,

as soon as it was signed by the Governor. Compare Tenn. Const. art II, § 18 (discussing timing

of when a bill “becomes law”) with Tenn. Const. art II, § 20 (discussing timing of when a bill

“take[s] effect”). While the Act does not technically require anything of anyone right now, its

soon-to-take-effect requirements are not ones that an organization can simply ignore until it

opens up shop on the morning of October 1. Materials have to be printed; websites have to be



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changed; internal policies have to be revised. The defendants have offered no account of how a

person or organization could continue its large-scale voter registration efforts uninterrupted

without beginning its compliance efforts well before the Act’s effective date. To the contrary, in

order to continue their activities, at least some of the plaintiffs are suffering actual—not merely

imminent—injuries from the Act at this very moment. When an already existing entity must, in

furtherance of its continuing mission, “devote resources” to “negat[ing] the impact” of a

defendant’s actions, then that entity has suffered an injury sufficiently actual or imminent to

create standing. Hous. Opportunities Made Equal, Inc. v. Cincinnati Enquirer, a Div. of Gannett

Co., 943 F.2d 644, 646 (6th Cir. 1991); see also Havens Realty Corp. v. Coleman, 455 U.S. 363,

379 (1982) (finding standing based on a rule’s creating a “drain on [an] organization’s

resources”).

       It is true that the plaintiffs do not know how the State Election Commission and others

will enforce the Act or what rulemaking related to the Act might contain. But the Act’s

requirements are commands, and the plaintiffs wish to follow the law. Article III does not punish

them for their law-abiding nature by robbing them of their chance to challenge the Act under the

Constitution. See Driehaus, 573 U.S. at 168 (observing that a plaintiff should not be

“forc[ed] . . . to choose between refraining from core political speech on the one hand, or

engaging in that speech and risking costly Commission proceedings and criminal prosecution on

the other”). The plaintiffs’ decision to alter their behavior in order to avoid the possibility of

punishment under the Act is, moreover, a wholly reasonable reaction that is independent of

whether or how the threat of enforcement will ultimately be carried out. The Constitution does

not stop recognizing the costs that the plaintiffs are bearing simply because there is a chance,

however small, that the State of Tennessee will choose not to enforce the Act or to enforce it so



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laxly that the plaintiffs’ compliance efforts will turn out to have been a waste of time and

resources.

          The economic costs of compliance are not the only concrete injuries that the plaintiffs are

facing. A concrete injury-in-fact can arise when a law “restrict[s] the plaintiffs’ political

activities within the state” and “limit[s] their ability to associate as political organizations.”

Green Party of Tenn. v. Hargett, 767 F.3d 533, 544 (6th Cir. 2014). By making it riskier and

more difficult to engage in voter registration activities and communications, the Act has, for

reasons that the court will discuss in more detail hereafter, imposed meaningful limitations on

the plaintiff organizations’ rights to engage in political speech and association related to

elections. Even if one ignores the compliance efforts taking place now, that restriction on

constitutional rights will occur imminently, when the law takes effect this October.

          With regard to the plaintiffs’ alleged First Amendment harms, it is particularly

unnecessary to wait and see how the Act will be enforced. As the Supreme Court has observed,

First Amendment case law recognizes “the danger in putting faith in government representations

of prosecutorial restraint” where protected speech is concerned. United States v. Stevens, 559

U.S. 460, 480 (2010). The courts, accordingly, will “not uphold an unconstitutional statute

merely because the Government promised to use it responsibly.” Id. (citing Whitman v. Am.

Trucking Ass’ns, Inc., 531 U.S. 457, 473 (2001)). Therefore, even if the Act were to go into

effect and the government enforced it, at first, narrowly (or even not at all), that would be beside

the point, because the plaintiffs’ challenge to the law itself would still be cognizable by the

courts.

          In short, the plaintiffs have alleged both economic harms and harms to their fundamental

rights, all of which are either already occurring or will occur imminently by operation of law.



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The plaintiffs have, therefore, satisfied the constitutional requirements of standing on the basis of

the face of their complaint. The court will not dismiss the plaintiffs’ claims on that ground.

B. Ripeness

       The defendants also argue that the plaintiffs’ claims are not ripe, citing essentially the

same facts and reasoning on which they rely to argue that the plaintiffs lack standing. “A claim is

not ripe for adjudication if it rests upon ‘contingent future events that may not occur as

anticipated, or indeed may not occur at all.’” Texas v. United States, 523 U.S. 296, 300 (1998)

(quoting Thomas v. Union Carbide Agric. Prods. Co., 473 U.S. 568, 580–81 (1985)). The

ripeness requirement exists, in part, in order to “prevent the courts, through avoidance of

premature adjudication, from entangling themselves in abstract disagreements.” Abbott Labs.,

387 U.S. at 148. The Supreme Court has suggested that the analysis of whether a case is ripe for

review is best conducted “in a twofold aspect, requiring the Court ‘to evaluate both the fitness of

the issues for judicial decision and the hardship to the parties of withholding court

consideration.’” Magaw, 132 F.3d at 285 (quoting Abbott Labs., 387 U.S. at 149).

       “The ripeness doctrine,” as it has traditionally been understood, “is drawn both from

Article III limitations on judicial power and from prudential reasons for refusing to exercise

jurisdiction.” Beech v. City of Franklin, Tenn., 687 F. App’x 454, 457 (6th Cir. 2017) (quoting

Nat’l Park Hosp. Ass’n v. Dep’t of Interior, 538 U.S. 803, 808 (2003)). Recent cases have raised

some doubt with regard to whether the latter, purely prudential aspects of ripeness continue to

provide an independent basis for dismissing a case. See Miller v. City of Wickliffe, Ohio, 852

F.3d 497, 503 n.2 (6th Cir. 2017) (discussing questionable vitality of prudential ripeness in the

wake of Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 125–28 (2014));

see also Driehaus, 573 U.S. at 167 (same); Clark v. City of Seattle, 899 F.3d 802, 809 n.4 (9th



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Cir. 2018) (same); but see Wyoming v. Zinke, 871 F.3d 1133, 1141 (10th Cir. 2017) (treating

prudential ripeness as an exception to Lexmark). For the time being, however, prudential ripeness

has never been wholly repudiated by either the Supreme Court or the Sixth Circuit, so the court

will use the doctrine’s traditional contours here.

        As the Sixth Circuit has observed, “[t]he line between Article III standing and ripeness in

preenforcement First Amendment challenges” is so slim that it has, in effect, “evaporated.”

Winter v. Wolnitzek, 834 F.3d 681, 687 (6th Cir. 2016) (citing Driehaus, 573 U.S. at 165–67).

Indeed, the defendants’ own arguments are a testament to that principal, with the non-prudential

aspects of their ripeness argument serving as little more than a restatement of their standing

analysis. In terms of what the Constitution requires, if the plaintiffs’ injuries, in a case such as

this, are actual or imminent enough to confer standing, then the plaintiffs’ claims are also

sufficiently ripe, at least as a constitutional matter.

        The only potential obstacle to ripeness, then, is the possibility of some non-constitutional,

prudential ripeness issue that would prevent the court’s consideration of the plaintiffs’ claims.

Even if one assumes the continuing validity of prudential ripeness as a doctrine, however, the

court sees no grounds for dismissal here. The defendants have provided no persuasive basis for

concluding that litigating the Act now, rather than later, would result in an undue hardship to

them. Waiting, on the other hand, would be likely to cause significant hardship for the plaintiffs.

There is also no reason to doubt that the record necessary to evaluate the plaintiffs’ claims can be

developed here. The plaintiffs are not challenging how the Act’s requirements are going to be

enforced; they are challenging what those requirements are. See Hill v. Snyder, 878 F.3d 193,

213–14 (6th Cir. 2017) (observing that the Supreme Court has held that “claims are fit for review

if they present ‘purely legal’ issues that ‘will not be clarified by further factual development’”)



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(quoting Thomas, 473 U.S. at 581). The record necessary to support such a challenge can be

assembled now, whether or not any enforcement or rulemaking has taken place. The plaintiffs’

claims, therefore, are ripe, and the court will turn to the merits of those claims.

                                              IV. MERITS

A. Claims I & V

        Claim I and Claim V both allege that the Act burdens the plaintiffs’ First Amendment

rights of speech and association, with the primary difference being that the claims rely on

different bodies of caselaw for setting forth the appropriate standard for evaluating the plaintiffs’

challenge.9 Because the question of what the standard of review should be is inseparable from

the merits of either claim, the court will consider Claims I and V together.

        1. Governing Standard

        As a preliminary matter, the defendants dispute the plaintiffs’ premise that the Act

implicates the First Amendment rights of speech and association, arguing that the Act “does not

prohibit or burden political expression or organization—because collecting a form and

forwarding it to the proper officials is neither speech nor association.” (Docket No. 40 at 14.) As

the plaintiffs point out, however, a voter registration drive involves more than just accepting and

delivering a form like some sort of silent courier. A voter registration drive, as described by the
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  The defendants also raise one issue specific to Count V—namely, that the plaintiffs are allegedly
seeking to assert the individual right to vote, for which they, as organizations, would not have standing to
assert on their own behalf. The plaintiffs respond that, with one exception, they are not seeking to
vindicate any individual right to vote, but rather their own organizational rights to engage in “speech and
association activities in conducting voter registration drives and making communications regarding voter
registration status,” which “plainly implicate the right to vote.” (Docket No. 44 at 22.) There is no dispute
that the organizations have standing to assert their own rights. The one remaining contested issue with
regard to organizational standing is that MCLC maintains that, insofar as it is necessary to do so, it has
associational standing to assert the voting rights of its members. See Waskul v. Washtenaw Cty. Cmty.
Mental Health, 900 F.3d 250, 254–55 (6th Cir. 2018) (setting forth requirements for associational
standing). Even then, however, neither party has identified any reason why the legal outcome of MCLC’s
claims would depend on whether it was asserting those claims solely on its own behalf or also on behalf
of its members. There is, therefore, no need to rule on MCLC’s associational standing, at least at this
stage.

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plaintiffs and as the term is ordinarily used, involves “encourag[ing] . . . citizens to register to

vote.” Project Vote v. Blackwell, 455 F. Supp. 2d 694, 698 (N.D. Ohio 2006). (See also Docket

No. 37 ¶ 103 (“Plaintiffs’ voter registration staff and volunteers educate non-voters not only

about how political participation can lead to social change and make democratic institutions

more responsive to community needs, but also how the act of registering to vote helps

underrepresented persons and communities establish their political worth, standing, and right to

speak at the polls.”).) “[E]ncouraging others to register to vote” is “pure speech,” and, because

that speech is political in nature, it is a “core First Amendment activity.” League of Women

Voters of Fla. v. Browning, 863 F. Supp. 2d 1155, 1158 (N.D. Fla. 2012); see also League of

Women Voters of Fla. v. Cobb, 447 F. Supp. 2d 1314, 1334 (S.D. Fla. 2006) (“Because the

collection and submission of [applications gathered during] voter registration drives is

intertwined with speech and association, the question is not whether Plaintiffs' conduct comes

within the protections of the First Amendment, but whether Defendants have regulated such

conduct in a permissible way.”); cf. Driehaus, 814 F.3d at 473 (“Political speech is at the core of

First Amendment protections.”) (citations omitted).

       Organizing between individuals in support of such registration efforts, moreover,

involves political association that is, itself, protected under the First Amendment. See Hernandez

v. Woodard, 714 F. Supp. 963, 973 (N.D. Ill. 1989) (“Where groups, formal or informal, seek to

advance their goals through the electoral process, regulations preventing their members from

[participating in voter registration] impair their ability effectively to organize and make their

voices heard.”) (citing R.I. Minority Caucus, Inc. v. Baronian, 590 F.2d 372, 376–77 (1st Cir.

1979)). Finally, the disclaimer requirement specifically governs “communications”—giving lie

to any plausible suggestion that speech is not the subject of the Act. The defendants’ contention



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that there is no protectable First Amendment activity touched on by the Act, therefore, does not

stand up to scrutiny.

        The mere fact that First Amendment interests are touched on by the Act, however, does

not necessarily render the Act unconstitutional. Courts have often struggled with the unique

difficulties posed by First Amendment challenges to election laws. In most areas of the law, the

government can avoid the First Amendment just by taking the Amendment’s advice and

“mak[ing] no law” that bears on a potentially protected subject matter. U.S. Const. amend. I. On

the topic of elections, however, making no law is not an option. “[T]here must be a substantial

regulation of elections if they are to be fair and honest and if some sort of order, rather than

chaos, is to accompany the democratic processes.” Storer v. Brown, 415 U.S. 724, 730 (1974).

For that reason, the Supreme Court has held that First Amendment challenges to “election code

provisions governing the voting process itself” require a specialized inquiry beyond a simple

“‘litmus-paper test’ that will separate valid from invalid restrictions.” McIntyre v. Ohio Elections

Comm’n, 514 U.S. 334, 345 (1995) (citation omitted). In such cases, the Supreme Court has

“pursued an analytical process” that considers “the relative interests of the State and the injured

voters, and . . . evaluate[s] the extent to which the State’s interests necessitated the contested

restrictions.” Id. (citation omitted).

        The “flexible balancing approach” endorsed by the Supreme Court—known generally as

the Anderson-Burdick framework, after Burdick v. Takushi, 504 U.S. 428 (1992), and Anderson

v. Celebrezze, 460 U.S. 780, 789 (1982)—can sometimes make it hard to fit First Amendment

challenges to election laws into ordinary constitutional categories. Ohio Democratic Party v.

Husted, 834 F.3d 620, 627 (6th Cir. 2016). When a state’s law “‘severely’ burdens the

fundamental right to vote, as with poll taxes, strict scrutiny is the appropriate standard.” Obama



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for Am. v. Husted, 697 F.3d 423, 429 (6th Cir. 2012) (quoting Burdick, 504 U.S. at 534). In cases

with no actual burden on a right to vote or other constitutional right, “a straightforward rational

basis standard of review should be used.” Id. (citing McDonald v. Bd. of Election Comm’rs, 394

U.S. 802, 807–09 (1969); Biener v. Calio, 361 F.3d 206, 214–15 (3d Cir. 2004)). “The

distinction between ‘severe burdens’ and ‘lesser’ ones,” however, “is often murky,” Citizens in

Charge, Inc. v. Husted, 810 F.3d 437, 443 (6th Cir. 2016) (citation omitted), and “most cases fall

in between these two extremes.” Obama for Am., 697 F.3d at 429. Both sides of the Anderson-

Burdick balancing formula, moreover, can be fact-intensive, requiring the court to evaluate the

severity of actual burdens and the importance of actual state interests. Applying Anderson-

Burdick at the motion to dismiss stage, therefore, poses a challenge, to say the least.

       Before a court even begins the Anderson-Burdick balancing process, however, it must

conduct the threshold inquiry of whether that framework actually applies—which is not

necessarily a given merely because the challenged law pertains to elections. As the Sixth Circuit

has observed, the rationale for Anderson-Burdick assumes that “‘election cases rest at the

intersection of two competing interests,’ namely, an individual’s right to vote versus a state’s

prerogative to regulate the right to vote.” Mich. State A. Philip Randolph Inst. v. Johnson, 749 F.

App’x 342, 349 (6th Cir. 2018) (quoting Ohio Democratic Party, 834 F.3d at 626). Some

election-related laws, however, implicate more than those two sets of concerns. Specifically,

laws that govern the political process surrounding elections—and, in particular, election-related

speech and association—go beyond merely the intersection between voting rights and election

administration, veering instead into the area where “the First Amendment ‘has its fullest and

most urgent application.’” Eu v. San Francisco Cty. Democratic Cent. Comm., 489 U.S. 214, 223

(1989) (quoting Monitor Patriot Co. v. Roy, 401 U.S. 265, 272 (1971); citing Mills v. Alabama,



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384 U.S. 214, 218 (1966)). The Supreme Court, accordingly, has applied “exacting scrutiny”—

not Anderson-Burdick—to cases governing election-related speech rather than “the mechanics of

the electoral process.” McIntyre, 514 U.S. at 345, 347 (reviewing law banning the circulation of

anonymous literature intended to affect an election).

       Left with this sometimes bewildering array of standards to choose from, it is probably

best to eschew the abstract in favor of the specific, look to the details of the challenged scheme,

and see how similar laws have been reviewed by the Supreme Court when challenged. Neither

party has identified a Supreme Court case specifically addressing voter registration drive

restrictions of the type at issue here. The plaintiffs, however, liken their challenge to those raised

in two Supreme Court cases involving a different type of canvassing, the circulation of petitions

in support of ballot initiatives, Meyer v. Grant, 486 U.S. 414 (1988), and Buckley v. American

Constitutional Law Foundation, Inc., 525 U.S. 182 (1999). In Meyer, the Supreme Court struck

down Colorado’s prohibition on the use of paid petition circulators. 486 U.S. at 428. In Buckley,

the Supreme Court struck down three more Colorado restrictions on petition circulators: “(1) the

requirement that initiative-petition circulators be registered voters; (2) the requirement that they

wear an identification badge bearing the circulator’s name; and (3) the requirement that

proponents of an initiative report the names and addresses of all paid circulators and the amount

paid to each circulator.” 525 U.S. at 186, 205 (citations omitted).

       The Supreme Court concluded that the regulation of the petition-drive activities at issue

“involve[d] a limitation on political expression subject to exacting scrutiny.” Meyer, 486 U.S. at

420 (citing Buckley v. Valeo, 424 U.S. 1, 45 (1976)). The Court explicitly rejected, moreover, the

argument that the logistical aspects of collecting signatures could be easily separated from the

regulation of speech, because “[t]he circulation of an initiative petition of necessity involves both



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the expression of a desire for political change and a discussion of the merits of the proposed

change.” Meyer, 486 U.S. at 421. “[T]he First Amendment,” the Court explained in Buckley,

“requires us to be vigilant” when such activities are regulated, “to guard against undue

hindrances to political conversations and the exchange of ideas.” 525 U.S. at 192 (citing Meyer,

486 U.S. at 421). The Court held that the prohibitions were unconstitutional because they

“significantly inhibit[ed] communication with voters about proposed political change, and [were]

not warranted by the state interests (administrative efficiency, fraud detection, informing voters)

alleged to justify those restrictions.” Id.

        The Supreme Court noted, in particular, the laws’ tendency to result in “speech

diminution” by “decreas[ing] the pool of potential circulators” of petitions. Id. at 194; see also

Bailey v. Callaghan, 715 F.3d 956, 969 (6th Cir. 2013) (referencing Meyer as an example of the

rule that the First Amendment applies “not only to laws that directly burden speech, but also to

those that diminish the amount of speech by making it more difficult or expensive to speak”)

(citing Citizens United v. Fed. Election Comm’n, 558 U.S. 310, 337 (2010); Meyer, 486 U.S. at

424)). The same rationale can easily be applied to the Act’s restrictions on voter registration

drives, particularly those involving prior registration, mandatory attendance at state-provided

training, and the threat of criminal prosecution. If, therefore, Meyer and Buckley apply, they pose

a substantial obstacle to the constitutionality of the Act.10

        The Sixth Circuit has recognized that the standard set forth in Meyer and Buckley is not

limited to the circulation of initiative petitions. See Toledo Area AFL-CIO Council v. Pizza, 154

F.3d 307, 316 (6th Cir. 1998) (applying Meyer-Buckley framework to law governing solicitation

of political contributions). The defendants nevertheless argue that those cases should not apply


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  Indeed, the defendants themselves concede that the standard of review dictated by Meyer and Buckley is
“typically strict in theory, [but] fatal in fact.” (Docket No. 40 at 13.)

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here because voter registration drives, unlike petition drives for ballot initiatives, do not involve

“communication with voters about proposed political change” and, therefore, are entitled to less

First Amendment protection. Buckley, 525 U.S. at 192. But the creation of a new voter is a

political change—no less so than the inauguration of a new mayor or the swearing-in of a new

Senator. The often-repeated premise that voting is the “political right . . . preservative of all

rights,” Yick Wo v. Hopkins, 118 U.S. 356, 370 (1886), is not just a comforting aphorism; it

reflects an acknowledgment that, in the American system of governance, every decision to grant,

preserve, or take away a right can be traced, in at least some partial way, back to an election. If

anything, a person’s decision to sign up to vote is more central to shared political life than his

decision to sign an initiative petition. A petition in support of a ballot initiative might lead to a

change in one law or a few laws, but a change in the composition of the electorate can lead to the

change of any law.

        A discussion of whether or not a person should register to vote, moreover, inherently

“implicates political thought and expression.” Buckley, 525 U.S. at 195.11 Registering to vote is

not a politically neutral act, and neither is declining to. A person seeking to register voters may,

for example, find himself confronted with people who, based on their beliefs about politics and

government, consider voting to be unimportant, a waste of time, or even a pernicious tool for

lending legitimacy to an intolerable system. See id. (discussing reasons individuals have refused

to register to vote). Even if a prospective voter does not explicitly voice those concerns, the

operator of the registration drive will no doubt know that sincere reasons for refusing to vote

exist and pose an obstacle to his efforts. The way that the person encouraging registration


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   Although Buckley was not itself about restrictions on voter registration efforts, it did discuss voter
registration, because the challenged law limited circulating petitions to registered voters. That discussion
in Buckley leaves little doubt that the Supreme Court understood the political dimensions of voter
registration. 525 U.S. at 194–96.

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responds to or preempts the objections people have to voting will, therefore, often bear on

fundamental questions at the heart of the political system. The court sees no reason that the First

Amendment would treat that discussion as somehow less deserving of protection than, for

example, a discussion about whether or not there should be a ballot initiative about property

taxes. The court, therefore, finds Meyer and Buckley to provide the appropriate standard for

considering the plaintiffs’ challenges.

       The Sixth Circuit’s recent opinion in Schmitt v. LaRose, ___ F.3d ___, 2019 WL 3713886

(6th Cir. Aug. 7, 2019), provides a useful framework for distinguishing between cases in which

Anderson-Burdick is appropriate and cases in which a more demanding First Amendment

framework should apply. In Schmitt, the plaintiffs challenged Ohio’s system of reviewing

whether to allow a ballot initiative to proceed—specifically, the state’s mechanism for rejecting

initiatives that propose “administrative” rather than “legislative” changes. Id. at *1. The plaintiffs

sought to proceed under ordinary First Amendment principles, but the Sixth Circuit rejected their

argument on the ground that the challenged laws “regulate the process by which initiative

legislation is put before the electorate, which has, at most, a second-order effect on protected

speech.” Id. at *4. The court further explained that, “although the Supreme Court has

acknowledged that a person or party may express beliefs or ideas through a ballot, it has also

stated that ‘[b]allots serve primarily to elect candidates, not as forums for political expression.’”

Id. at *5 (citing Timmons v. Twin Cities Area New Party, 520 U.S. 351, 363 (1997)).

Accordingly, Anderson-Burdick applied. Id.; see also Comm. to Impose Term Limits on Ohio

Supreme Court & to Preclude Special Legal Status for Members & Emps. of Ohio Gen.

Assembly v. Ohio Ballot Bd., 885 F.3d 443, 448 (6th Cir. 2018) (applying Anderson-Burdick in

challenge to Ohio’s rule limiting initiatives to a single topic). The Sixth Circuit, in Schmitt,



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expressly declined to apply Meyer, because the “statute in Meyer targeted Coloradans’ ability to

advocate for initiative petitions, which amounted to regulation of political speech.” Id. at *9.

This case, unlike Schmitt—but like Meyer and Buckley—involves more than merely the

composition of a ballot or some other matter of election administration with a “second-order

effect on protected speech.” It involves the direct regulation of communication and political

association, among private parties, “advocat[ing] for” a particular change, namely the creation of

new registered voters and, by extension, a change in the composition of the electorate. Because

the regulation of First Amendment-protected activity is not some downstream or incidental effect

of the Act, Meyer and Buckley provide the appropriate standard.

       The distance between the Meyer-Buckley framework and the Anderson-Burdick

framework is not, however, necessarily far. The standard of review under Anderson-Burdick only

recedes to its lowest level when the challenged law is “minimally burdensome” on the exercise

of constitutional rights. Ohio Democratic Party, 834 F.3d at 627 (citation omitted). But if the

burden is “severe,” then Anderson-Burdick is just another road to strict scrutiny. Schmitt, 2019

WL 3713886, at *5. The plaintiffs have alleged, in great detail, the seemingly severe burdens

that the Act will place on the practice of operating voter registration drives. At this stage, the

court must accept those allegations as true. Therefore, even if the court were to reject the Meyer-

Buckley framework—which it does not—it would simply end up applying the same standard or

something very close to it, at least for the purposes of the pending motion.

       Evaluating the constitutionality of the Act, under either exacting scrutiny or an

intermediate Anderson-Burdick standard, requires the court to “identify and evaluate the precise

interests put forward by the State as justifications for the burden imposed.” Anderson, 460 U.S.

at 789. In so doing, the court must “not only determine the legitimacy and strength of each of



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those interests,” but “also . . . consider the extent to which those interests make it necessary to

burden the plaintiff’s rights.” Miller v. Lorain Cty. Bd. of Elections, 141 F.3d 252, 256 (6th Cir.

1998) (quoting Anderson, 460 U.S. at 789). The defendants argue that the purpose of the Act is

“to ensure that voter registration is done properly.” (Docket No. 40 at 14.) Whatever it means for

a voter registration drive to have been done “properly,” the state has a legitimate, and indeed

probably compelling, interest in ensuring that individuals who seek to register to vote are able to

do so without their efforts being thwarted by an incompetent or unscrupulous middleman. The

determinative question under either Meyer-Buckley or Anderson-Burdick is whether the Act’s

response to that interest actually fits the specific evil that each provision is intended to address.

Neither standard will tolerate a burden on the plaintiffs’ First Amendment rights that is

unnecessary or out of proportion to the statute’s legitimate ends.

       2. Registration and Training Requirements

       As the Supreme Court has observed, election authorities “retain[] an arsenal of

safeguards” through which they can encourage compliance with election laws. Buckley, 525 U.S.

at 205. “Broad prophylactic rules in the area of free expression are suspect. Precision of

regulation must be the touchstone in an area so closely touching our most precious freedoms.”

NAACP v. Button, 371 U.S. 415, 438 (1963) (citations omitted). In light of the alternatives, the

court sees very little basis for concluding that the provisions of the Act governing registration

and training are truly necessary. For example, even assuming that it is necessary for the operator

of a voter registration drive to provide certain information to the state, it is not clear why it is

necessary that the information be provided to the coordinator of elections before a drive, rather

than afterwards, either as part of handing in forms or as a timely separate submission. If




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anything, post-drive disclosures would be more likely to be accurate. Requiring the information

up front and in every case simply requires more prior planning with little, if any, benefit.

       Particularly without justification is the requirement that the operators of voter registration

drives file sworn statements confirming that they will comply with the law. The law is the law

already; no one has to swear to follow it in order for it to apply. As a practical matter, this

requirement merely adds an additional regulatory hoop for the operator of a voter registration

drive to jump through, while also perhaps sending her an intimidating message about the

possibility of prosecution. There is simply no compelling reason to force someone to swear that

she will abide by laws that already bind her regardless.

       It is also difficult to see why people who have received some remuneration for their voter

registration work should be subject to registration requirements that other people performing the

same tasks are not. See Project Vote, 455 F. Supp. 2d at 705 (discussing impropriety of

“assum[ing] that compensated workers would be more ill equipped to assist in filling out the

registration forms than uncompensated voter registration workers” (internal quotation marks

omitted)). The imposition of the registration requirement on some voter registration drives and

not others, based on whether work is paid, moreover, will inevitably lead to harsher treatment for

some types of organizations—specifically, those less capable, perhaps due to the nature of their

mission, of summoning numerous enthusiastic volunteers. See Riley v. Nat’l Fed’n of the Blind

of N.C., Inc., 487 U.S. 781, 799 (1988) (noting that a requirement targeting only paid personnel

making charitable solicitations “necessarily discriminates against small or unpopular” causes and

groups that must rely on paid assistance). The Act’s two-tiered system both lacks justification in

its own right and undermines any claim that its provisions are truly necessary.




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       Finally, there is, on the current record, no basis for requiring that registration workers and

volunteers receive mandatory government training prior to assisting with voter registration. At

least at this stage, there is no reason to believe that private training has been inadequate or that

voter registration organizations would refuse to use training resources made available to them

unless forced. Moreover, even if private training has sometimes fallen short, requiring a group

seeking to affect political change to be a captive audience for a government-sponsored message

ahead of time would plausibly have a chilling effect, particularly given that the Coordinator of

Elections appears to possess broad discretion over the content of the training, including the

severity of any warnings about volunteers’ legal exposure as well as simply the amount of time

that the training will take. Based on the facts as pleaded by the plaintiffs, there is a plausible

claim that such a scheme would fail either Meyer-Buckley or Anderson-Burdick.

       3. Penalties for Incomplete Registrations

       The plaintiffs point out several aspects of the civil penalties regime related to incomplete

applications that allegedly impose burdens out of proportion to their supposed benefits. Most

obviously, the combination of the 10-day hand-in requirement and the penalties for incomplete

forms put the plaintiffs in an unnecessary double bind. There are good reasons to require

operators of voter registration drives to turn in all of their collected applications and to do so in a

timely manner. But by imposing the 10-day requirement, the Act is also, by necessity, requiring

people and organizations to turn in applications that they know to be incomplete. The Act,

therefore, punishes a person or organization for doing too much of something that it requires

them to do.

       The defendants would presumably respond that the Act only punishes those whose voter

registration efforts result in an unacceptable rate of error. That, though, is not how the Act is



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structured. The Act does not punish anyone for the rate of incomplete forms he turns in. If an

organization turns in 10,000 applications, 1% of which are incomplete, it is penalized, even if it

made all reasonable efforts to perform its voter registration drive competently. If an organization

turns in a stack of 150 applications, 66% of which are incomplete, that organization is in the

clear. The result is that the Act holds an organization to an increasingly more onerous standard

the more effective it is at recruiting new voters.

        That penalty for effectiveness is only exacerbated by the Act’s provisions imposing an

additional penalty “in each county where the violation occurred.” Tenn. Code Ann. § 2-2-

143(c)(4)(A), accord Tenn. Code Ann. § 2-2-143(c)(4)(B). For example, if an organization

operates across 20 counties and turns in 5 incomplete forms from each county, for a total of 100

incomplete forms, it can be fined up to $2,000. If an organization operates in one county and

turns in 500 incomplete forms, it can only be fined $150. Just as the decision to punish by

volume rather than rate punishes an organization for identifying more prospective voters, the

county-by-county fine requirement punishes an organization for having a wider geographic

scope. The unluckiest organization of all is one that seeks to register a large number of

Tennesseans across a large number of counties. In other words, the Act falls hardest not on bad

actors but on organizations with the most ambitious and inclusive voter registration efforts. The

state’s interest in drives being performed competently does not justify such a regime, under

exacting scrutiny or some lesser balancing analysis.

        4. Disclaimer Requirements

        The justification for the Act’s disclaimer requirements is, if anything, even more difficult

to discern. It is certainly not clear to the court, at this stage, that there is a problem of prospective

voters mistakenly believing that, for example, Rock the Vote is a division of Tennessee’s Office



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of the Secretary of State. And even if people are mistakenly believing that it is, then what,

exactly, is the harm, as long as all of the information provided is accurate and all of the

registration and lookup activities are competently done? In contrast, the burdens of the

disclaimer requirement are readily apparent. The requirement demands attention and resources

and may, in some media, be difficult to comply with at all. Moreover, there is a plausible case

that including a foreboding disclaimer that makes a voter registration drive seem somehow

illegitimate will actually confuse a voter far more than help him. Voter registration drives are a

perfectly legitimate component of the voter registration system, under Tennessee law and under

the Constitution. A disclaimer that could be read to suggest otherwise would be a substantial

burden without a corresponding benefit.

       5. Consent Requirement for Retention of Information

       The requirement, in Tenn. Code Ann. § 2-2-142(b), that the operator of a voter

registration drive receive consent in order to retain information is, among the challenged

provisions, probably the least burdensome to voter registration drives. At the very least, there is a

way that the operator of a voter registration drive can easily comply with the provision—that is,

by simply not retaining applicant information. The plaintiffs, however, wish to have the option of

retaining applicant information in furtherance of their get-out-the-vote efforts, and they complain

that the consent requirement will create additional paperwork requirements that will burden their

voter registration drives. Although Tenn. Code Ann. § 2-2-142(b) does not state the form that the

consent must take, the plaintiffs argue that, as a practical matter, it will almost certainly be

necessary to obtain written consent for their records, as a way to document their compliance with

the Act. That step, they argue, would introduce a new layer of difficulty and complexity to their

voter registration activities, in the form of a requirement that improperly and without reason



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targets voter registration for an extra layer of regulation that does not apply to any other

interaction, political or non-political, in which an individual voluntarily gives his information to

a third party.

        At this stage, the plaintiffs have stated a plausible enough claim of unconstitutionality

with regard to the information retention requirement. The question of how burdensome the

requirement will be, as a practical matter, is a question of fact, and the court must, at this stage,

accept as true the plaintiffs’ claim that it will be significantly burdensome. The court, moreover,

cannot assume that the record will reveal a legitimate problem sufficient to justify that burden.

        6. Cumulative Burden and Constitutionality

        The plaintiffs have presented plausible claims that each of the challenged provisions,

individually, fails the level of scrutiny set forth in Meyer-Buckley and will, at least if their factual

assertions about the burdens of the provisions prove to be true, also fail Anderson-Burdick

review. That claim of unconstitutionality becomes even stronger when one considers that the Act

is a single regulatory scheme intended to operate as a whole. Each of the plaintiffs appears to be

a substantial organization with an established history of encouraging voter registration. When it

comes to personnel and budgets, though, their vulnerability is striking. The organizations,

particularly those based in Tennessee, operate on limited budgets with few or no full-time

staffers. The Act would attack their limited resources from all sides. The disclaimer and

registration requirements produce compliance costs. The training and penalty provisions hamper

the organization’s ability to recruit qualified volunteers and registration workers. Then, when the

voter registration drive is done, the organization’s already-depleted resources may be drained by

fines. For example, a single $2,000 fine would be about 5% of MCLC’s entire political budget.

The same fine would be 200% of AMAC’s budget for voter registration.



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       Those burdens, moreover, are avoidable. If Tennessee is concerned that voter registration

drives are being done incompetently, it can engage in public education efforts without relying on

a complex and punitive regulatory scheme. If it is concerned that the drives are being done

fraudulently—for example, by a person or organization collecting forms and never turning them

in—it can punish the fraud rather than subjecting everyone else to an intrusive prophylactic

scheme that true bad actors would likely evade regardless. See Citizens for Tax Reform v. Deters,

518 F.3d 375, 388 (6th Cir. 2008) (noting that Ohio law governing petition circulators was

unnecessary, in part due to preexisting prohibition on election fraud). If the state is concerned

about incomplete voter registration forms, it can devote resources to identifying them quickly

and working with voters to complete them. If it is concerned that processing a large number of

registration applications is too costly and difficult, it can make registration simpler. And if, after

that, Tennessee is still concerned about the cost, then, as understandable as that concern may be,

bearing the cost is what the Constitution requires. Having an active and engaged electorate can

cost money; not having one can cost more.

       “Election day—next year, and two years later, and two years after that—is what links the

people to their representatives, and gives the people their sovereign power.” Rucho v. Common

Cause, 139 S. Ct. 2484, 2512 (2019) (Kagan, J., dissenting). Local election authorities, in many

ways, are the custodians of that bond. No one in this case disputes that it is crucial to the

functioning of our system of government that county election commissions have resources

proportionate to the scale and importance of their responsibilities. But restricting voter

registration drives in order to try to preserve election commission resources is like poisoning the

soil in order to have an easier harvest. There is no point in taking a step to preserve resources if,




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by doing so, one thoroughly compromises the reason that the resources were important in the

first place.

        Because of its importance to the ongoing functioning of representative government, the

right “to join with others to advance political beliefs,” including through encouraging and

facilitating voter registration, is among “the most fundamental of . . . constitutional rights.” Id.

The plaintiffs have pleaded a plausible claim that these particular efforts to regulate the

sometimes-chaotic electoral process impinge on that right more than the Constitution permits.

The court, accordingly, will not dismiss Claims I or V.

B. Claim II

        Claim II alleges that the disclaimer requirements of Tenn. Code Ann. § 2-2-145 amount

to government-mandated speech that serves no compelling or legitimate governmental function,

in violation of the First Amendment. The defendants argue that the disclaimer requirements

should be upheld under rational-basis review, because they govern only “factual, commercial

speech,” and the disclaimer requirements are rationally related to the government’s interest in

ensuring that prospective voters are fully informed about the nature of the entities with which

they are dealing. (Docket No. 40 at 15.) The plaintiffs respond that the defendants have

misidentified the appropriate standard for reviewing the Act and that it should instead be

evaluated pursuant to the standard for evaluating government-compelled speech on political

matters.

           The attempt to classify the plaintiffs’ speech as commercial is certainly novel.

“Commercial speech” has been “narrowly defined by the Supreme Court” as “‘expression related

solely to the economic interests of the speaker and its audience or ‘speech proposing a

commercial transaction.’” Karhani v. Meijer, 270 F. Supp. 2d 926, 931 (E.D. Mich. 2003)



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(quoting Cent. Hudson Gas & Elec. Corp. v. Pub. Serv. Comm’n of N.Y., 447 U.S. 557, 561

(1980); citing Va. State Bd. of Pharmacy v. Va. Citizens Consumer Council, Inc., 425 U.S. 748,

762 (1976) (intermediary citations omitted)). The Act, in contrast, requires disclaimers attached

to all “public communication[s] regarding voter registration status made by a political committee

or organization”—that is, political, noncommercial speech on an issue of significant public

concern. Tenn. Code Ann. § 2-2-145(a). The defendant’s argument, as far as the court can tell,

seems to be that communications about voter registration status are, in some sense,

‘commercially’ advertising the participation in elections, which the First Amendment should

treat no differently than an advertisement for shoes or hamburgers.

       It is not entirely clear that the defendants themselves even consider their “commercial

speech” argument colorable, as the phrase appears nowhere in their Reply, despite the fact that

the rest of their argument on Claim II is unchanged. (See Docket No. 46 passim.) In any event,

political speech encouraging voter registration is not commercial speech for First Amendment

purposes. The case on which the defendants chiefly rely in support of their argument, Discount

Tobacco City & Lottery, Inc. v. United States, 674 F.3d 509 (6th Cir. 2012), is, therefore,

inapposite. The Sixth Circuit in Discount Tobacco City expressly premised its reasoning on the

conclusion that the challenged law regulated only commercial speech, leaving the plaintiffs’

“ability to make ‘direct comments on public issues’ . . . untouched.” Id. at 533 (quoting San

Francisco Arts & Athletics, Inc. v. U.S. Olympic Comm., 483 U.S. 522, 537 n.15) (1987)).

Discount Tobacco City, therefore, does not provide the appropriate standard for considering

Claim II.

       “The First Amendment guarantees ‘freedom of speech,’ a term necessarily comprising

the decision of both what to say and what not to say.” Riley, 487 U.S. at 796–97. A law that



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“compel[s] individuals to speak a particular message” by following a “government-drafted

script” that “alte[rs] the content of [their] speech” is a “content-based regulation of speech” and,

therefore, “presumptively unconstitutional.” Nat’l Inst. of Family & Life Advocates v. Becerra,

138 S. Ct. 2361, 2371 (2018) (quoting Riley, 487 U.S. at 795; Reed v. Town of Gilbert, Ariz., 135

S. Ct. 2218, 2226 (2015)). Such laws “may be justified only if the government proves that they

are narrowly tailored to serve compelling state interests.” Id. (citing Reed, 135 S. Ct. at 2226).

The defendants make little, if any, argument that the Act’s disclaimer requirements meet this

standard, particularly for the purposes of a motion to dismiss. The defendants posit that voters

may be confused about whether regulated parties are affiliated with the Tennessee Secretary of

State. In order for a compelled disclosure to pass constitutional muster, however, it must

“remedy a harm that is,” at the very least, “‘potentially real[,] not purely hypothetical.’” Id. at

2377 (quoting Ibanez v. Fla. Dep’t of Bus. & Prof’l Regulation, 512 U.S. 136, 146 (1994)). If the

defendants have evidence that the public is actually confused about whether private voter

registration drives are performed by the Secretary of State and actually harmed by that

confusion, then the defendants will be free to present that evidence at a later juncture. At this

stage, however, the plaintiffs have pleaded a plausible claim that the disclaimer requirements are

not directed at any compelling government interest.

       Even if the defendants can establish that the disclaimers required by the Act are directed

at a real problem, there is reason to doubt that the Act is appropriately tailored to that problem.

The government’s “simple interest in providing voters with additional relevant information does

not justify a state requirement that a [speaker] make statements or disclosures she would

otherwise omit.” McIntyre, 514 U.S. at 348. If the state is concerned that the public is

insufficiently informed or misinformed, then “more benign and narrowly tailored options are



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available” than compelled speech. Riley, 487 U.S. at 800. For example, the state could

“communicate the desired information to the public” itself through a public awareness campaign.

Id. If the Tennessee Department of State is concerned that the public is confused about its role in

voter registration, it is free to communicate with the public of its own accord.

       Finally, even if one accepts that the government’s purpose is compelling and that

disclaimers are an appropriate tool for furthering that purpose, the plaintiffs have raised

persuasive objections to the tailoring of the particular disclaimer requirements in the Act. For

example, the disclaimer requirement reaches all “public communication regarding voter

registration status made by a political committee or organization,” not merely any particular

subset of communications that is actually likely to result in public confusion. Tenn. Code Ann. §

2-19-145(a). This requirement, as written, would reach any number of wholly innocuous

communications, including communications that, based on their content, present no threat of

confusion whatsoever with regard to whether the government is involved.

       Moreover, the requirement that the disclaimers be “conspicuous and prominently placed”

in a way that is not “difficult to read or hear” and cannot “be easily overlooked,” Tenn. Code

Ann. § 2-19-145(d), read literally, sets an almost impossible standard. If, for example, an

organization operates a website that includes multiple pages, it is unclear what form of

disclaimer would be sufficiently prominent. For example, a disclaimer only on the site’s main

page would be missed by anyone who came to the site by a link to another page. Another option

would be to place the disclaimer at the bottom of every page, like a copyright notice. That

placement, however, could be “easily overlooked.” The organization, lacking a good option,

might force every user that accesses its site to acknowledge the disclaimer before going further.

Even then, though, it is probably true, as a factual matter, that a user could “easily overlook” the



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disclaimer, just as users routinely skip quickly past terms of service and end user license

agreements to get to the information and features they want in other websites and applications.

People, particularly those living in a media environment that inundates them with information,

are very good at overlooking things. Requiring a disclaimer that is incapable of being “easily

overlooked” is, in practice, requiring a disclaimer so intrusive that it would threaten to swallow

the communication that it is attempting to clarify.12

        The defendants, as the parties defending a policy of government-compelled speech,

“ha[ve] the burden to prove that the [challenged requirement] is neither unjustified nor unduly

burdensome.” Becerra, 138 S. Ct. at 2377 (citing Ibanez, 512 U.S. at 146). The plaintiffs have

pleaded a plausible claim that the Act’s disclaimer requirements clear neither bar. The court,

accordingly, will not dismiss Claim II.

C. Claim III

        Claim III alleges that, insofar as the Constitution permits some legislation akin to the Act,

the Act itself is unconstitutionally overbroad in violation of the First Amendment. (Id. ¶¶ 229–

35.) The defendants argue that the court should dismiss this claim because none of the provisions

of the Act are overbroad.

        A law that has been facially challenged under the First Amendment “may be invalidated

as overbroad if ‘a substantial number of its applications are unconstitutional, judged in relation to

the statute’s plainly legitimate sweep.’” Stevens, 559 U.S. at 473 (quoting Wash. State Grange v.

Wash. State Republican Party, 552 U.S. 442, 449 n.6 (2008)). Under this test, “any law imposing

restrictions so broad that it chills speech outside the purview of its legitimate regulatory purpose


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  The defendants may protest that they would never suggest enforcing the disclaimer requirement so
aggressively. But it is not up to them. By making a violation of the disclaimer requirement a Class A
misdemeanor, Tenn. Code Ann. § 2-9-145(e), Tennessee has given any local prosecutor the power to
enforce the disclaimer requirement to the full extent of its text.

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will be struck down.” Deja Vu of Nashville, Inc. v. Metro. Gov’t of Nashville & Davidson Cty.,

Tenn., 274 F.3d 377, 387 (6th Cir. 2001). The defendants’ argument that the plaintiffs cannot

satisfy this test is closely bound up with their arguments on Claims I and II. Specifically, the

defendants argue that the Act is unlikely to reach much, if any, constitutionally protected activity

given that, as they argue, (1) the Act does not regulate political speech and (2) the required

disclaimers trigger minimal constitutional protection and are subject only to rational basis

review. As the court has discussed above, neither of those premises is supported by the relevant

case law.

       The viability of the plaintiffs’ Claim III, therefore, largely flows from the court’s analysis

on Claims I and II. Insofar as the Act’s restrictions on voter registration drives can be applied in

a way consistent with the First Amendment—and it is not clear to the court how that would be—

the unconstitutional applications are far out of proportion to the permissible ones. For example,

even if it might be permissible to punish people who chronically, knowingly hand in deficient

forms at a rate far in excess of what is ordinary—and the court does not rule that it would be—

that is no basis for the Act’s punishing conscientious voter registration workers whom it forced

to hand in incomplete forms under the 10-day turn-in requirement. And while it is almost

certainly permissible to offer government-provided registration drive training, that is no basis for

requiring it and chilling the speech of everyone unable or unwilling to submit themselves to the

Coordinator of Elections’ government-sponsored message. Finally, while it is conceivable that

some large, smoothly functioning organizations which limit themselves to heavily planned voter

registration activities might be able to comply with the pre-registration requirement without too

great a hardship, that is no basis for chilling the speech of organizations for which it would be a

burden. Many of the plaintiffs are relatively large and very experienced in operating voter



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registration drives, but even they, by their allegations, will have their speech chilled by that

requirement.

        Similarly, even accepting, for the sake of argument, that some disclaimer requirement

would be constitutional, the indiscriminate overbreadth of the requirement, as written, far

overshadows the narrow class of cases where it might be permissible. The phrase “[a] public

communication regarding voter registration status made by a political committee or

organization,” Tenn. Code Ann. § 2-19-145(a)(1), could reach an extraordinarily wide array of

communications, including ones posing no threat whatsoever of confusing any voter or

prospective voter. The plaintiffs have stated a plausible argument that the challenged provisions

of the Act, if not otherwise unconstitutional, are unconstitutionally overbroad. The court,

accordingly, will not dismiss Claim III.

D. Claim IV

        Claim IV alleges that various of the Act’s requirements are unconstitutionally vague in

violation of the plaintiffs’ rights to due process under the Fourteenth Amendment. Specifically,

the plaintiffs suggest that the highlighted terms in the thirteen following provisions of the Act are

impermissibly vague13:

        1. “A person or organization who has not been designated by the county election
        commission under § 2-2-111 and who conducts a supplemental voter registration
        drive . . . .” Tenn. Code Ann. § 2-2-142(a). The plaintiffs complain that this language
        leaves it unclear whether a person or organization which is the county’s designee for a
        particular supplemental voter registration drive is exempt for that drive only or all drives.

        2. “A person or organization . . . who conducts a supplemental voter registration . . . .”
        Id. The plaintiffs complain that it is unclear what it means to “conduct” a voter

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   In their briefing on this issue, the plaintiffs cite several paragraphs of their Amended Complaint that do
not appear to allege an actual linguistic ambiguity. Rather, they merely highlight the arguably strange way
that the Act assesses fines on a county-by-county basis. (See Docket No. 44 at (citing Docket No. 37 ¶¶
136, 138–40).) The fact that these provisions may seem strange or unfair, however, does not make them
vague. The court, therefore, will limit its analysis to provisions where the plaintiffs have identified actual
linguistic ambiguity.

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   registration drive and who can be said to “conduct” it. Accordingly, it is impossible to
   know which individuals must comply with the full registration requirements.

   3. “Prior to conducting a voter registration drive . . . .” Id. The plaintiffs complain that
   “voter registration drive” is not defined. They also complain that, on its face, the Act does
   not specify that it applies only to voter registration drives in Tennessee.

   4. “. . . drive in which the person or organization attempts to collect voter
   registration applications of one hundred (100) or more people . . . .” Id. The plaintiffs
   complain that it is unclear what constitutes a single drive for purposes of tallying the 100-
   prospective-voter number. For example, it is unclear whether multiple planned activities
   over the course of multiple days, by the same organization and generally targeting the
   same population, would count as one or multiple voter registration drives. This problem
   is exacerbated, they argue, because the ensuing provisions use the singular and plural of
   “drive”/“drives” inconsistently. Compare Tenn. Code Ann. § 2-2-142(a)(1)(A) with
   Tenn. Code Ann. § 2-2-142(a)(1)(B).

   5. “. . . drive in which the person or organization attempts to collect voter registration
   applications of one hundred (100) or more people . . . .” Id. The plaintiffs complain that it
   is unclear what it means to attempt to collect voter registration applications of one
   hundred or more people, given that voter registration drives do not necessarily have pre-
   set targets and each drive is merely attempting to obtain as many valid registrations as
   possible.

   6. “Prior to conducting a voter registration drive, the person or agent of an
   organization shall . . . [c]omplete training . . . [and] [f]ile a sworn statement stating that
   the person or organization shall obey all state laws and procedures . . . .” Tenn. Code
   Ann. § 2-2-142(a)(1)(C). The plaintiffs complain that it is unclear how these provisions
   apply to individuals who complete training and file a sworn statement once and then
   engage in multiple voter registration drives over a period of time, specifically with regard
   to if and how often the person must retake the training and/or file a fresh statement.

   7. “. . . individuals who are not paid to collect voter registration applications or to
   organizations that are not paid to collect voter registration applications . . . .” Tenn. Code
   Ann. § 2-2-142(g). The plaintiffs complain that it is unclear whether “paid” covers, for
   example, volunteers who receive stipends and organizations that receive grants of various
   types.

   8. “. . . organizations . . . that use only unpaid volunteers to collect voter registration
   applications . . . .” Id. The plaintiffs complain that this language is unclear with regard to
   how it applies to organizations that use unpaid volunteers to collect voter registration
   forms but use paid staff in support roles that support the drive, such as by processing
   forms or providing training.

   9. “. . . any application that lacks the applicant’s name, [or other enumerated items].”
   Tenn. Code Ann. § 2-2-143(b). The plaintiffs complain that it is unclear whether this

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       provision covers applications where the enumerated information is filled in but is
       incorrect, illegible, or incomplete, such as, for example, a form including a residential
       address without a zip code.

       10. “A public communication regarding voter registration status . . . .” Tenn. Code Ann.
       § 2-2-145(a)(1). The plaintiffs complain that, while the Act provides a non-exhaustive list
       of “public communications,” the term is otherwise ambiguous. For example, it is unclear
       whether it would apply to one-on-one conversations in public places.

       11. “A public communication regarding voter registration status . . . .” Id. The
       plaintiffs complain that it is unclear what qualifies as a communication regarding voter
       registration status, including whether it encompasses communications that touch on voter
       registration generally or that implicate registration only incidentally as part of a broader
       message about voting.

       12. “. . . . clear and conspicuous and prominently placed . . . .” Tenn. Code Ann. § 2-
       19-145(d). The plaintiffs argue that this standard is wholly ambiguous, for reasons
       discussed at greater length herein.

       13. “Any person who intentionally and knowingly violates [the disclaimer
       provisions] . . . .” Tenn. Code Ann. § 2-19-145(e). The plaintiffs complain that it is
       unclear whether and how this provision applies to violations committed by organizations.

The defendants argue that the plaintiffs have, at most, identified ordinary ambiguities that might

create problems in a few hypothetical cases, but not ambiguities so vague that they raise

constitutional concerns.

       To succeed on a vagueness challenge to a statute, a plaintiff must show that the relevant

terms “(1) ‘fail to provide people of ordinary intelligence a reasonable opportunity to understand

what conduct it prohibits’ or (2) ‘authorize or even encourage arbitrary and discriminatory

enforcement.’” Platt v. Bd. of Comm’rs on Grievances & Discipline of Ohio Supreme Court, 894

F.3d 235, 246 (6th Cir. 2018) (quoting Hill v. Colorado, 530 U.S. 703, 732 (2000)). “‘[A] more

stringent vagueness test should apply’ to laws abridging the freedom of speech . . . .” Id. (quoting

Vill. of Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489, 499 (1982)). That

standard can be “relaxed somewhat” if the law at issue “imposes civil rather than criminal

penalties and includes an implicit scienter requirement.” Id. (citing Hoffman Estates, 455 U.S. at

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499). Several of the challenged provisions of the Act, however, impose criminal liability, and

those that do not impose criminal liability generally lack a scienter requirement.

       The question of unconstitutional vagueness largely calls on the court to consider the

language of a statute as a legal matter. Nevertheless, there may be factual issues that provide

relevant background, particularly with regard to ordinary practices in the governed field—here,

voter registration, activism, and elections. The court, therefore, must approach this issue at least

somewhat tentatively. Nevertheless, the court can, at least as a preliminary matter, consider the

general plausibility of the plaintiffs’ linguistic arguments.

       A statute is not unconstitutionally vague merely because it is “susceptible to clever

hypotheticals testing its reach.” Id. at 251. Statutory ambiguity happens; if that were not the case,

the job of the courts would be considerably simpler. Many of the listed ambiguities—

specifically, numbers 1, 2, 3, and 8 listed above—strike the court as most likely to present run-

of-the-mill absences of clarity that would make for a difficult case if applied in the manner

identified but that do not necessarily raise constitutional problems. A few other provisions are

susceptible to troublingly vague readings if a particular word or phrase is construed one way but

can also be fairly construed in a way likely to pass constitutional muster—namely, numbers 5, 9,

and 13. A few of the provisions that the plaintiffs have identified, however, involve so much

ambiguity that the plaintiffs have, without a doubt, made at least a plausible claim that

individuals who wish to comply with the Act have not been given a reasonable opportunity to

understand what the Act prohibits.

       First, the Act offers no guidance for when a person or organization should consider its

activities to consist of a single voter registration drive or multiple registration drives. For

example, a group might plan a series of events at different churches, temples, or mosques, once a



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week, for a month. In this hypothetical, the organization would know, from experience, that no

single effort at a single institution would be expected to yield more than 30 registration

applications. Is that a single voter registration drive covered by the Act or four voter registration

drives that are not? What if, instead, a single organization held multiple events, in multiple

locations and operated by entirely different teams, as part of a “Voter Registration Day,” with

none individually expected to exceed more than a few dozen registrations? What if the same

Voter Registration Day effort was held, but rather than having been done by different teams

within a single organization, it was operated by multiple organizations in loose coordination with

each other? Or, finally, what if a single organization is just involved in voter registration efforts,

every day or almost every day, on a rolling basis and in numerous locations? These are not

outlandish hypotheticals—they are easily foreseeable possibilities that go to the heart of how the

Act would work. Unless an organization has some fair warning of how to know when the Act

will apply, the Act cannot constitutionally restrict the organization’s First Amendment activities.

       Second, and relatedly, the Act gives no guidance on how often a person must receive

fresh training or file a fresh sworn statement of compliance. The Act could be read as requiring

new training and a new filing with each drive that a party conducts—although that requirement

would seem to be quite onerous. But even then, the Act has given no guidance about what

consists of a single drive. As written, a volunteer can go to the trouble of receiving training from

the Coordinator of Elections and then, within hours, be unsure of whether she needs to do it

again before she can help across town. That ambiguity, as well, places too much of a burden on

individuals who merely wish to exercise their First Amendment rights within the law.

       Third, the scope of much of the Act is defined in terms of whether organizations or

workers are “paid to collect voter registration applications,” Tenn. Code Ann. § 2-2-142(g), but,



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outside of a few clear-cut areas, it is entirely unclear what that term means. The provision,

presumably, covers individuals paid an hourly wage to collect registrations and organizations

that have entered into contracts specifically to collect registrations for an identified price. It is

unclear, however, if the language applies to, for example, individuals receiving a stipend or

organizations that receive grants to engage in voter registration activities generally. See Project

Vote, 455 F. Supp. 2d at 707 (noting difficulty of determining which voter registration workers

are “compensated”). Without some clarity about the type of payment contemplated by the Act, it

is impossible for a person or organization to know if it is covered.

       Fourth, the phrase “a public communication regarding voter registration status,” Tenn.

Code Ann. § 2-2-145(a)(1), is ambiguous in at least two major ways. The Act explains that

“‘public communication’ includes communications made using newspapers or magazines, mass

mailings, phone bank or text messages, electronic mail systems, or websites,” Tenn. Code Ann. §

2-2-145(a)(2), but it is impossible to discern what other communications it includes. A

conversation between a volunteer and a potential voter in the park, for example, is simply the

equivalent of a “phone bank . . . message,” without the phone, so there is no assurance, in the

statute, that the conversation would be exempt from the disclaimer requirement. The Act also

gives no guidance with regard to whether this provision applies to billboards or other signage—

an application that might be particularly challenging, given that signage is generally intended to

be legible from a distance, and it would be difficult to integrate a disclaimer that would be

similarly legible. Even when one resolves the question of medium, the phrase “regarding voter

registration status” could be read to reach virtually any conversation that even touches on the

issue of individual voting and eligibility. A person or organization operating under the Act would




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live with the possibility of arbitrary enforcement in virtually any communication in which voter

registration came up, even passingly.

          Finally, as the court has already discussed at length, the requirement that a disclaimer

must be “clear and conspicuous and prominently placed,” Tenn. Code Ann. § 2-2-145(d), does

not give a person or organization sufficient warning of what one must do in order to comply with

the Act. Read literally, the requirement that the disclaimer be given a “placement” that cannot

“be easily overlooked,” id., is, at least in some instances, almost impossibly demanding. The Act,

though, gives no additional guidance about how the requirement should be read.

          Not every alleged instance of vagueness that the plaintiffs have cited necessarily poses a

constitutional problem. Legislators are not required to anticipate every possible type of confusion

or challenging situation, and the courts exist to resolve ambiguities in individual cases. At least a

handful of the Act’s ambiguities, however, appear likely to impair efforts by reasonable people

to know when the Act will apply and, if it applies, what it requires. These provisions, moreover,

are all central to the Act’s functioning and scope. The resulting uncertainty is inherently likely to

result in a chilling effect on organizations and individuals who wish to participate in voter

registration but who cannot afford to find themselves on the wrong side of an enforcement

action. The court, accordingly, will not dismiss Claim IV.

                                         V. CONCLUSION

          For the foregoing reasons, the defendants’ Motion to Dismiss (Docket No. 39) will be

denied.

          An appropriate order will enter.

                                                              ______________________________
                                                              ALETA A. TRAUGER
                                                              United States District Judge



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